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                     EXHIBIT 1
                     Case 2:20-cv-09465-JAK-JPR Document 1-1 Filed 10/15/20 Page 2 of 60 Page ID #:7
Electroilcally FILED by Superior Court of California, County of Los Angeles on 08/27/20~Q~~   31~~~erri. R. Carter, Executive Officer/Clerk of Court, by R. Clifton,Deputy Clerk




                                                        SUMMONS                                                                                     FOR COURT USE ONLY
                                                                                                                                                (SOLO PARA USO DE LA CORTE)
                                               (CI TA CION JUDI CIH L)                                '

          NOTICE TO DEFENDANT:
          (AVISO AL DEMANDADO):
              SHELLPOINT MORTGAGE SERVICING, LLC; a limited liability company; and DOES 1 through 100,

          YOU ARE BEING SUED BY PLAINTIFF:
          (LO ESTA DEMANDANDO EL DEMANDANTE):

           JAMIL GEORGE RABADI, an Individual;
           NV I Il:tl rou nave Deen suea. I ne coun may aeclae agamst you wlinout your Deing neara umess you respona wltmn 3u aays. I-Ceaa tne Inrormation
           below.
              You have 30 CALENDAR DAYS after this summons and legal papers are served on you to fi[e a written response at this court and have a copy
           served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
           case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
           Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
           court clerk for a fee waiver form. If you do not fi[e your response on time, you may lose the case by default, and your wages, money, and property may
           be taken without further warning from the court.
              There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
           referral service. If you cannot afford an attomey, you may be eligible for free legal services from a nonprofit legal services program. You can locate
           these nonprofit groups at the Califomia Legal Services Web site (www.lawhelpcatifornia.org), the California Courts Online Self-Help Center
           (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
           costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
           iAVISO! Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su versibn. Lea /a informacion a
           continuaci6n.
              Tiene 30 DIAS DE CALENDARIO despues de que le entreguen esta citacidn y pape%es legales para presentar una respuesta por escrito en esta
           corte y hacer que se entregue una copia al demandante. Una carta o una Ilamada te/efonica no lo protegen. Su respuesta por escrito tiene que estar
           en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formu/arlo que usted pueda usar para su respuesta.
           Puede encontrar estos formu/arios de la corte y mas informacidn en el Centro de Ayuda de /as Cortes de Californfa (www.sucorte.ca.gov), en /a
           biblioteca de leyes de su condado o en /a corte que le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de la corte que
           le dd un fonnulario de exenci6n ,de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder e/ caso por incumplimiento y la corte le podra
           quitar su sueldo, dinero y bienes sin m6s advertencia.
              Hay otros requisitos /ega/es. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
           remision a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios /ega/es gratuitos de un
           programa de senricios lega/es sin rines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Lega/ Services,
           (www.lawhelpcalifornia.org), en el Centro de Ayuda de /as Cortes de Califomia, (www.sucorte.ca.gov) o poniendose en contacto con /a corte o e/
           colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
           cualquierrecuperaci8n de $10,000 6 mfis de valorrecibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
           pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
          The name and address of the court is:                                                                             CASE NUMBER: (Numero del Caso):
          (EI nombre y direccion de la corte es):                                                                                   --
                                                                                                                             2 0 S, OV 3 2 7 8 4
           111 N Hill St., Los Angeles, CA 90012

          The name, address, and telephone number of plaintifPs attorney, or plaintiff without an attorney, is: (El nombre, la direccion y el ntimero
          de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
           Jarrod Y. Nakano; 4 Park Plaza, Suite 1 b25, Irvine, CA 92614; 949-544-2640        Sherr[ R. Carter Executive Of(icer/ Clerk of Court
          DATE: 0&27i2Q2O                                                               Clerk, by                                                Deputy
          (Fecha)                                                                       (Secretario)           R. Clifton                       (Adjunto)
           (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
           (Para prueba de entrega de esta citation use e/ formulario Proof of Service of Summons, (POS-010).)
                                                   NOTICE TO THE PERSON SERVED: You are served
                                                   1.           as an individual defendant.
                                                   2. 0 as the person sued under the fictitious name of (specify):

                                                   3.     x0 on behalf of (specify): Shellpoint Mortgage Servicing, LLC; a limited liability company

                                                        under: 0 CCP 416.10 (corporation)                                               CCP 416.60 (minor)
                                                              0 CCP 416.20 (defunct corporation)                                        CCP 416.70 (conservatee)
                                                              0 CCP 416.40 (association or partnership)                                 CCP 416.90 (authorized person)
                                                              0 other (specify): Corporation Code 17061
                                                   4. 0 by personal delivery on (date)
          Form Adopted for Mandatory Use                                              SUMMONS                                                       Code of Civil Procedure §§ 412.20. 465
          Judicial Council of California                                                                                                                                 www.courts.ca.gov
          SUM-100 [Rev. July 1, 2009]

          Fof - your protbction and privady~, please press-tfie Clea~                                                                                             ---__    _
           his Form button afteryou have pr[nted the form.                      ,' Prlrlt thiS forrll '     Save this form ,                                  Clear this form—!
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                                                                                                         R. Carter,               Page of3Court,
                                                                                                                    Executive Officer/Clerk of 60      Page ID Clerk
                                                                                                                                                 by R. Clifton,Deputy #:8
                                                                                     20STCV32784
                           II         Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Dennis Landin




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                       6        Attorneys for Plaintiff
                                JAMIL GEORGE RABADI
                       7
                       8                                SUPERIOR COURT OF THE STATE OF CALIFORNIA
                       9                                            FOR THE COUNTY OF LOS ANGELES
                     10
                     11         JAMIL GEORGE RABADI, an Individual;                            I   Case No. 2 O B -r CV 3 2 78 4

                     12
                                                           Plaintiff,
                     13
                                                           V.
                     14                                                                            COMPLAINT FOR:
                                SHELLPOINT MORTGAGE
                     15         SERVICING, LLC; a limited liability                                   (1) Violation of Homeowner Bill of Rights;
                                company; and DOES. 1 through 100,
                     16                                                                               (2) Violation of the Rosenthal Fair Debt
                                                                                                          Collection Practices Act;
                     17                                     Defendants.
                                                                                                      (3) Violation of the Fair Debt Collection
                     18                                                                                   Practices Act; and

                     19                                                                               (4) Unfair Business Practices — Cal. Bus. &
                                                                                                          Prof. Code § 17200, et seq.
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                                                                                              COMPLAINT


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 1          Comes now Plaintiff JAMIL GEORGE RABADI ("Rabadi") who complains and alleges
 2   as follows:
 3                                                  PARTIES

 4   1.     Plaintiff JAMIL GEORGE RABADI ("Rabadi") is, and at all relevant times was, an
 5   individual residing within this judicial district. Plaintiff resides at 31761 Paseo Bonito, Castaic
 6   Area, California 91384 (the "Property")
 7   2.      Plaintiff is informed and believes and thereupon alleges that Defendant SHELLPOINT
 8   MORTGAGE SERVICING, LLC ("Shellpoint" or "Defendant") is, and at all relevant times was,

 9   a limited liability company conducting business within this jurisdiction.

10   3.      The true names and capacities of defendants named herein as DOES 1 through 100 are

11   unknown to Plaintiffs at this time, who therefore sues said defendants by such fictitious names.
12   Plaintiffs will seek leave of Court to amend this Complaint to insert the true names and capacities

13   of such fictitiously-named defendants when they have been ascertained. Plaintiff is informed and
14   believe and upon that basis allege that such defendants are liable for the injuries to Plaintiffs

15   hereinafter alleged.
16   4.      Plaintiff is informed and believes and upon that basis alleges that the defendants named as

17   DOES 1 through 100 are individuals and/or unknown entities that reside and/or conduct business

18   within this, judicial, district, and claiming an interest in the Property.

19   5.      Plaintiff is informed and believes and upon that basis alleges that the defendants named as

20   DOES 1 through 100 are responsible in some manner for the occurrences hereinafter alleged, and

21   that Plaintiff s damages were proximately caused by these defendants.              i

22   6.      At all relevant times to this action, the defendants, and each of them, acted in concert

23   with, and/or was the agent, partner, affiliate, joint venturer, co-conspirator, aider and abettor,

24   servant, associate, representative, predecessor-in-interest and/or successor-in-interest of the other,
25   and in engaging in the acts, omissions and occurrences hereinafter alleged, the defendants, and
26   each of them, were acting in concert with and within the course and scope of their authority as
27   agent, partner, affiliate, joint venturer, co-conspirator, aider and abettor, servant, associate,

28   representative, predecessor-in-interest and/or successor-in-interest of the other.
                                                    -2-
                                                    COMPLAINT
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     1                                   JURISDICTION AND VENUE
     2   7.     This is an action for injunctive and declaratory relief, and damages against Shellpoint for
     3   Violation of Homeowner Bill of Rights, Rosenthal Fair Debt Collections Act, Violation of the
     4   Fair Credit Reporting Act, and Unfair Business Practices Act.
     5   8.     This Court has subject-matter jurisdiction over the causes of action alleged in this
     6   Complaint because this Court is a court of general subject-matter jurisdiction and is not otherwise
     7   excluded from exercising subject-matter jurisdiction over said causes of action.
     8   9.     This Court has personal jurisdiction over Defendants because each Defendant resides in, is
     9   incorporated in, has, its main place of business in, and/or conducts business in the State of
    10   California, and a substantial portion of the acts, omissions, events, and transactions constituting
    11   the causes of action alleged herein occurred within the State of California. CAL. CODE CIv. PROC.
    12   § 410.10:
    13   10.    This Court is the appropriate venue for this action under California Code of Civil
    14   Procedure Sections 395 and 395.5, because the acts that give rise to the causes of action alleged
    15   herein occurred in the County of Los Angeles, State of California. Plaintiff hereby designates the
    16   County of Los Angeles, State of California, as the place of proper venue.
    17                                       GENERAL ALLEGATIONS

    18   11.    On or about December 19, 2015, Plaintiff entered into a mortgage loan with Express
    19   Skyline (the "Loan"). Skyline agreed to loan Plaintiff a sum of $402,573.00 secured by the
    20   Property through a first Deed of Trust, then and now the primary residence and home for Plaintiff
    21   and his family. The Deed of Trust does not identify the type of loan or interest rate on the
    22   mortgage'. Mortgage Electronic Registration Systems, Inc. ("MERS") is the named beneficiary
    23   under the Deed of Trust. Fidelity National Title Company ("Fidelity") was named as the trustee
    24   under the Deed of Trust. A true and correct copy of the Deed of Trust is attached and
    25   incorporated hereto as Exhibit A.
    26   12.    Sometime thereafter, Ditech began servicing the Loan. As servicer on the loan, Ditech
    27   was responsible for collecting mortgage payments from Plaintiff.
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 1   13.    After making seventeen mortgage payments under the Loan, Ditech rejected Plaintiff's

 2   mortgage payment and demanded upfront payment. Ditech contended that the payment was for

 3   four additional missed payments. Plaintiff was never behind on his payments to Ditech and as

 4   such could not afford to make the four mortgage payments all at once. Plaintiff informed Ditech

 5   that he had not missed a mortgage payment.

 6   14.    Plaintiff was not able to fully investigate the situation and as such, Plaintiff requested

 7   additional time to make the four mortgage payments.

 8   15.    Ditech did not fully investigate the alleged missing mortgage payments, and never

 9   followed up with Plaintiff with regards to the missing payments.

10   16.    As Plaintiff did not make the four mortgage payments up front, Ditech wrongfully

11   initiated the foreclosure process on Plaintiff's Property.

12   17.    Moreover, Ditech refused to take any additional mortgage payments from Plaintiff. A true

13   and correct copy of the Notice of Default is attached and incorporated hereto as Exhibit B.

14   18.    Upon receiving the Notice of Default, Plaintiff contacted Ditech regarding the Loan and

15   his options to modify his Loan. At that time, Plaintiff was informed that he was not pre-approved

16   for a loan modification based on their financial information, income to debt ratio and based on a

17   net present value ("NPV") analysis.

18   19.    Ditech has failed to provide for a proper accounting of the arrears under the Deed of Trust.

19   As such, Plaintiff is unable to ascertain the required tender to cure the deficiencies under the Deed

20   of Trust.

21   20.    Additionally, Plaintiff retained a forensic accountant to review his file and finances. The

22   accountant discovered that Plaintiff had not missed a mortgage payment to Ditech.

23   21.    Sometime thereafter, Ditech filed bankruptcy and Shellpoint began servicing the loan.

24   22.    Shellpoint repeatedly reported and continues to report late mortgage payments to credit

25   bureaus and in effect destroyed Plaintiff's credit.

26   23.    Upon seeing the late payments on his credit report, Plaintiff reached out to Shellpoint to

27   request that they correct the information as he had made every mortgage payment on time.

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                                                      -4-
                                                   COMPLAINT
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 1   24.    Additionally, Plaintiff sent the forensic accountant's report to Shellpoint to prove that he
 2   had not missed a mortgage payment.
 3   25.    To date, the late payments are still reflected on Plaintiff s credit report and Plaintiff may
 4   never financially recover due to the tarnishing of his credit score.
 5   26.    Nevertheless, he has ~een damaged in an amount to be proven at trial.
 6   27.    Defendants repeatedly called and harassed Plaintiff, but when Plaintiff would answer
 7   hoping for an answer regarding the faulty credit reporting, nobody else was on the line.
 8   28.    On or around August 5, 2020, Plaintiff submitted his complete loan modification
                                                        ~                               ,
 9   application to Shellpoint.
10   29.    Upon sending the complete loan modification application, Plaintiff has followed up with
11   Shellpoint to ensure that they have the requisite documents to review him for a loan modification.
12   30.    Shellpoint informed Plaintiff that they had not received the documents and had lost
13   documentation that he had sent in.
14   31.    A controversy has arisen between Plaintiffs and Defendants because of Defendants'
15   failure to provide accurate material disclosures and notices so that Plaintiffs can cure any alleged
                                                                                                         ;
16   default and extinguish the transaction by operation of law.
17   32.    Defendants are acting in concert to deprive Plaintiffs of their civil rights by attempting to
18   take their Properry without due process of law.
19   33.    Plaintiffs stand ready, willing, and able to tender and pay the amounts due under the Loan
20   and Deed of Trust, and Plaintiff is ready, willing, and able to make such payment at the times
21   required of them by law.
22                                     I'IRST CAUSE OF ACTION
23                  (Violation of the Homeowner Bill of Itights Against Defendants)
24   34.    Plaintiff incorporates by reference, as though fully set forth, paragraphs 1 through 29 of
25   this Complaint.
26   35.    On January 1, 2013, the Homeowner Bil1 of Rights ("HBOR I") made numerous
27   amendments and additions to the pre-foreclosure process applicable to owner occupied first lien
28   mortgage loans. On January 1, 2018, certain provisions of HBOR I were eliminated, some
                                                    -5-
                                                 COMPLAINT      I
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 1   provisions were altered, and some provisions remained untouched ("HBOR II"). Subsequently,
 2   on January 1, 2019, certain provisions of HBOR II were altered to resemble HBOR I("HBOR
 3   III"). Regardless, the HBOR III is still designed to protect homeowners from unfair practices by
 4   banks and mortgage companies and to help consumers and communities cope with the state's
 5   urgent mortgage and foreclosure process.

 6   36.    HBOR III requires a thirty (30) day pre-foreclosure notification and consultation process

 7   prior to the initiation of the non judicial foreclosure process. CAL. CIV. CODE §§ 2923.5,

 8   2924.17, and 2923:55. Lenders are required to provide an actual proposal for a loan modification

 9   if the borrower submits a completed application for a modification during the specified

10   notification and due diligence periods. CAL. CIV. CODE §§ 2923.55, 2923.6, and 2924.18.

11   Lenders are required to provide a single point of contact for all communications about foreclosure

12   and modification. CAL. CIV. CODE § 2923.7. There is a prohibition on dual tracking by lenders,

13   which prevents the lender from initiating or proceeding with the non judicial foreclosure while

14   the application for a modification is being processed. CAL. CIV. CODE § 2923.6.

15   37.    Further, following the denial of a first lien loan modification application, the mortgage

16   servicer shall send a written notice to the borrower identifying the reasons for denial, including

17   (1) the amount of time from the date of letter to in which the borrower may request an appeal of

18   the denial; (2) if the denial was based on investor disallowance, the specific reasons for the

19   investor disallowance; (3) if the denial is the result of net present value calculation, the monthly

20   gross income and property value used to calculate the net present value; (4) if applicable, a

21   finding that the borrower was previously offered a first lien loan modification and failed to

22   successfully make payments under the terms of the modified loan; and (5) if applicable, a

23   description of the other foreclosure prevention alternatives for which the borrower may be

24   eligible, and a list of steps borrower must take in order to be considered for those options. CAL.

25   CIV. CODE § 2923.6(f).

26   38.    Additionally, "an application shall be deemed `complete' when a borrower has supplied

27   the mortgage servicer with all documents required by the mortgage servicer within the reasonable

28   timeframes specified by the mortgage servicer." CAL. CIV. CODE § 2923.6(h).
                                                  -6-
                                                 COMPLAINT
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 1   39.     If the borrower's loan modification application for a first lien loan modification is denied,
 2   the borrower shall have at least 30 days from the date of the written denial to appeal the denial
 3   and to provide evidence that the mortgage servicer's determination was in error. CAL. CIV.
 4   CODE § 2923.6(d).
 5   40.    If the borrower's application for a first lien loan modification is denied, the mortgage
 6   servicer, mortgagee, trustee, beneficiary, or authorized agent shall not record a notice of default,
 7   record a notice of trustee's sale, or conduct a trustee's sale until the later of: (1) 31 days after the
 8   borrower is notified in writing of the denial. (2) If the borrower appeals the denial, the later of 15
 9   days after the denial of the appeal or 14 days after a first lien loan modification is offered after
10   appeal but declined by the borrower, or, if the loan modification is offered and accepted after
11   appeal, the date on whi,ch the borrower fails to timely submit the first payment or otherwise
12   breaches the terms of the offer. CAL. CIV. CODE § 2923.6(e).
13   41.    In this case, Defendants' initiation of the non judicial foreclosure process has been rife
14   with material violations of the Homeowner Bill of Rights. Defendants cannot prove that the non-
15   judicial foreclosure proceedings have complied with the statutory requirements of the
16   Homeowner Bill of Rights. In particular, prior to the recording of the NOD, Defendants did not
17   provide Plaintiffs with their notice and disclosure rights under HBOR. As such, Defendants
18   violated Civil Code sections 2932.5 and 2924, et seq., and the NOD is void, which makes the
19   NOD void as a result thereof.
20   42.    Moreover, Defendants have persisted in dual tracking the loan modification review and
21   non judicial foreclosure proceedings.
                                          1
22   43.    Pursuant to California Civil Code Sections 2924.12(a) and 2924.18, Plaintiff seeks an
23   order enjoining Defendants from engaging in the acts and practices as hereinabove alleged, and
24   an order that Defendants provide appropriate restitution to Plaintiff.
25   44.    Pursuant to California Civil Code Section 2924.12, Plaintiff seeks an award of attorney's
26   fees and costs.
27   45.    As a direct result of the above-mentioned misrepresentations, Plaintiffs have been and
28   continues,to be damaged in an amount to be proven at trial, but in no event less than the
                                                 -7-
                                                   COMPLAINT
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  1   jurisdictional amount. Plaintiffs will seek leave of the Court to amend this Complaint once the
  2   full amount of Plaintiffs' damages has been ascertained.
  3                                    SECOND CAUSE OF ACTION
  4                     (Violation of the Rosenthal Fair Debt Collection Practices Act)
  5   46.    Plaintiff incorporates by reference, as though fully set forth, paragraphs 1 through 41 of
  6   this Complaint.
  7   47.    Plaintiff is a"person" as that term is defined by California Civil Code section 1788.2.
  8   48.    Plaintiffs relationship with Ditech arose out of a"consumer debt" and "consumer credit"
  9   as those terms are defined by California Civil Code section 1788.2.
 10   49.    Ditech was and is a"debt collector" as that term is defined by California Civil Code
 11   section 1788.2.
 12   50.    Under the provisions of California Civil Code section 1788.2, et seq., Ditech was and is
 13   prohibited from engaging in any unfair or deceptive acts or practices in the collection of
 14   consumer debts.
 15   51.    As alleged above, Ditech's actions and conduct was and is unfair and deceptive in
 16   violation of the applicable provisions of the Rosenthal Fair Debt Collection Practices Act.
 17   52.    As a result thereof, Ditech is liable for statutory damages in the sum of no less than
 18   $1,000.00 for violations of California Civil Code section 1788, et. seq., in addition to the payment
 19   of legal fees and expenses.
 20                                      THIRD CAUSE OF ACTION

 21                          (Violation of the Fair Debt Collection Practices Act)

 22   53.    Plaintiff incorporates by reference, as though fully set forth, paragraphs 1 through 48 of
 23   this Complaint.
 24   54.    Ditech violated the FDCPA. Defendant's violations include but are not limited to:
 25              a. Engaging in any conduct the natural consequences of which is to harass, oppress,
 26                 or abuse any person in connection with the collection of a debt (See 15 U.S.C.
 27                  Section 1692d);
 28              b. Using unfair and unconscionable. collection means (See U.S.C. Section 1692f);
                                                  -8-
                                                  COMPLAINT
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                                                         ~                    I

  1                c. Taking any action to effect dispossession or disablement of property if. .. the

  2                    property is except by law from such dispossession or disablement. (See 15 U.S.C.

  3                    Section 1692f(6);

  4   55. As a result of the above violations of the FDCPA, Ditech is liable to the Plaintiff for actual
  5         damages, statutory damages of at least $1,000.00 for each violation, punitive damages and

  6         attorney's fees and costs.

  7                                        FOURTH CAUSE OF ACTION
  8                  (Unfair Business Practices — Cal. Bus. & Prof. Code § 17200, et seq.)

  9   56.      Plaintiff incorporates by reference, as though fully set forth, paragraphs 1 through 55 of

 10   this Complaint.

 11   57.      Plaintiff brings this action as a private attorney general acting on her own behalf, pursuant
                                                                       ~
 12   to California Business and Professions Code section 17200, et seq., referred to as the Unfair
                                                                              ;
 13   Competition Law (the "Unfair Competition Law" or "UCL").

 14   58.      Plaintiff is acting in this capacity to remedy the ongoing unlawful, unfair and fraudulent

 15   business practices alleged herein, and to seek injunctive relief and restitution.

 16   59.      The foregoing acts and omissions of Defendants affect trade and commerce as those terms

 17   are defined under the UCL.

 18   60.      Plaintiff has standing to bring this suit under a UCL Claim because Defendants have

 19   harmed Plaintiff by wrongfully initiating foreclosure proceedings against Plaintiff.

 20   61.      The UCL defines unfair competition to include any unlawful, unfair, or fraudulent

 21   business act or practice and provides that a court may order injunctive relief and restitution to

 ~2   affected parties as a remedy for any violations of the UCL.

 23   62.      Beginning on the dates indicated and at all times relevant herein,'Defendants and the DOE

 24   Defendants have comrnitted acts of unfair competition proscribed by the UCL includirig the

 25   practices alleged herein against Plaintiff.

 26   63.      At all relevant times, Defendants have been systematically violating the provisions of the

 27   Homeowner Bill of Rights, as it pertains to their obligations under the Deed of Trust and

 28   proceeding with a non judicial foreclosure.
                                                      n
                                                    COMPLAINT
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  1   64.       The Notice of Default recorded by Defendants the beneficiary, or their agents was
  2   wrongful and in violation of the Homeowner Bill of Rights.
  3   65.       Specifically, Defendants processed and ratified the Loan, substantially amended and failed
  4   to deliver material disclosures under the,Homeowner Bill of Rights, failed to comply with the
  5   contract between the parties, and failed to do so,with statutory good faith and fair dealing.
  6   66.       These violations are a matter of their standard corporate policy, and constitute a consistent
  7   pattern and practice of unlawful corporate behavior. Defendants' actions were against public
  8   policy.
  9   67.       The business acts and practices of these Defendants, as hereinabove alleged, constitute
 10   "unlawful" business practices under UCL in that, for the reasons set forth above, said acts and
 11   practices violate the provisions of the Homeowner Bill of Rights, the contract between the parties,
 12   and Defendants' fiduciary duties.
 13   68.       The business acts and practices of these Defendants, as hereinabove alleged, constitute
                                                                                     ;

 14   "unfair" business practices under UCL in that said acts and practices offend public policy and are
 15   substantially injurious to Plaintiff and all consumers. Said acts and practices have no utility
 16   whatsoever, much less sufficient utility to outweigh the substantial harm to Plaintiff and other
 17   consumers, and potential homeowners.
                                                                    ~              •       ,
 18   69.       Defendants made one or more misrepresentations and failed to make accurate
 19   representations and/or failed to provide material information about the transaction set forth above.

 20   70.       Specifically, Defendants processed and ratified the Loans, substantially amended and

 21   failed to deliver material disclosures under the Homeowner Bill of Rights, failed to comply with
 22   the contract between the parties, and failed to do so with statutory good faith and fair dealing.
 23   71.       Defendants have failed to record any transfers of interest between the beneficiaries,
 24   trustees before the non judicial foreclosure process was initiated under California Civil Code
                            ,
 25   section 2932.5.
 26   72.       Said misrepresentations and failure to make accurate representations were made
 27   knowingly or with reason to know that Plaintiff would rely thereon.
 28   73.       Said misrepresentations and failure to make accurate representations were material to the
                                                      -10-
                                                    COMPLAINT
Case 2:20-cv-09465-JAK-JPR Document 1-1 Filed 10/15/20 Page 13 of 60 Page ID #:18




  1    Loans from origination to present.

  2    74.    Said misrepresentations and failure to make accurate representations were made with

  3    intent and Plaintiff relied thereon by seeking legal counsel and filing this suit against Defendants.
  4    75.    Plaintiff reasonably relied, as specified, on these factual allegations.

  5    76.    Plaintiff was thereby damaged and has a' substantial ascertainable loss.

  6    77.    The business acts and practices of Defendants, as hereinabove alleged, constitute

  7    "fraudulent" business practices under UCL in that said acts and practices are likely to deceive the

  8    public and affected consumers' legal rights and obligations. Indeed, Defendants' acts, including

  9    but not limited to active deception, falsifying documents, failing to deliver material documents,

 10    and concealment, may preclude consumers from exercising legal rights to which they are entitled.

 11    78.    The unlawful, unfair and fraudulent business acts and practices of Defendants described

 12    herein present a continuing threat to members of the General Public and to Plaintiff in that

 13    Defendants and the DOE Defendants are currently engaging in such acts and practices, and will

 14    persist and continue to do so unless and until an injunction is issued by this Court.

 15    79.    Pursuant to California Business and Professions Code section 17203, Plaintiff seeks an

 16    order enjoining Defendants from engaging in the acts and practices as hereinabove alleged, and

 17    an order that Defendants provide appropriate restitution to Plaintiff.

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                                                    COMPLAINT
Case 2:20-cv-09465-JAK-JPR Document 1-1 Filed 10/15/20 Page 14 of 60 Page ID #:19




  1                                             PRAYER
  2   WHEREFORE, Plaintiffs pray for relief as follows:
  3          1.     General damages in an amount to be proven at trial;
  4          2.     Special damages in an amount to be proven at trial;
  5          3.     For an order enjoining defendants from taking any action to sell the Property;
  6          4.     For pre and post judgment interest;
  7          5.    For punitive damages;
  8          6.    For costs of suit; and,
  9          7.    For such other and further relief as the Court may deem just and proper.
 10
 11   DATED: August 27, 2020                              MCFARLIN LLP
 12
 13
                                                 By:      Im /
                                                           arrod . Nakano
 14                                                       Attorney for Plaintiff
                                                          JAMIL GEORGE RABADI
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                                                COMPLAINT
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         '     Fidelity-Sherman Oaks
                                                                                                                                           71--l'
      . Wherrrecorded, mail to:
       SlCY'LINE FINANCIAL CORP.
       ATTN; FINAL DOCUMENT DEPARTMENT
       27001 AGOURA ROAD, SUIT@ 350
       CALABASAS, CA 91301


         10M




        LOAN #: 201510660
eQ1                                              [Space Above This Line For Reoortling IJata]
                                                                                                FHACase No.
       State of CaliFornia                             DEED OF TRUST                            1 197-7321504-734-234C
~
~                                                                                                 M1N:1001851-0201111380 9
i                                                                                                MERS PHONE #:1-888-679-6377
~                                                                                                                       t
~
~         THIS DBED OF TRUST ("Security Instrument") is made on December 9, 2015.                                     The Trustor is
ly     JAMIL GEORGE RABADI, A SINGLE MAN




        whose address is 17015 RIV>rR gIRCH COURT, Canyon Country, CA 91387
                                                                                                                        (°Bon•ower").
        The trustee is Ftdelity Nationa( Tltie Company

                                                                                                                            ("Trustee°),

        "MI;RS" Is Mortgage Eiectronlo Registration Systems, Inc, MERS is a separate corporation that Is acting solely as a nomi-
        nee for l.ender and Lender's successars and assigns. MERS [s the beneficiary underthls Security Instrument, Mt=RS
        is organized and existing under the laws of 1?elaware, and has an address and telephone number of P.O. Box 2026, Fiint, .,
        Michigan 48801-2026, tel. (888) 879-MERS.
        SKYLINE FINANCIAL CORP., A CALIFORNIA CORPORATION

                                                                                                       ("Lendet") is organized and
        existing under the laws of California,
        and has an address of ,27001 AGOURA ROAD, SUITE 350, CALABASAS, CA 91304.



        FHACallfomlaDeedofTrust-4196                                                                          Initlals: i1 '✓
                                                                                                                           ~" ___
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Case 2:20-cv-09465-JAK-JPR Document 1-1 Filed 10/15/20 Page 18 of 60 Page ID #:23




                                                                                                         LOAN #t 201610660 ~
Borrower owes Lender the principal sum of FOUR HUNDRED TWO THOUSAND FIVE HUNDFtED SEVENTY THREE
ANDNOl100** r '*"""'`"""'""*"*""* +w ** +* *** irrw * ,rx * s * s "a *l?ollarS(11.S. $402,573.00                                 }.
Thls debt Is evidenced by Borrower's note dated the same date as thls Security Instrumenl ("Note°), which provides for
monthly payments, with the full debt, if not pald earlier, due and payable on January 1, 2046.
The beneficiary of this Security Instrument is MERS (sol®ly as nominee for Lender and Lender's successors and assigns)
and the successors and assigns of MERS. This Security lnstrument secures to Lender. (a) the repayment of the debt
evldenced by the Note, with interest, and all renewals, extensions and modifications of the Note; (b) the payment of ali
other sums, with interest, advanced under paragraph 7 to protect the security of this Security Instrument; and (c) the
performance of Borrower's covenants and agreements under this Security (nstrument and the Note. For this purpose,
Borrower irrevocably grants and conveys to the Trustee, in trust, with power of safe, the following described property
located In [,os Angeles                                        County, California:
SEE LEOAL DESCRIPTION A'CTACHED HEftt;TO ANA MADE A PART HEREOF AS "F..XHIBIT A".
APN #; 2865-100-086




which has the address of 31761 Paseo gonito, Castaic Area,
                                                                                                                     [Street, Oihr],
California 91384                    (°PropertyAddress');
                   [Zip Code]

     TOGETHER WiTH all the Improvements now or hereafter erected on the property, and all easements, appurtenances
and fixtures now or hereafter a part, of the property. All repiacements and additlons shall atso be covered by this Seaarity
Instrument. All of the foregoing is referred to in thls Security Instrumentas the "Property." Borrower understands and agrees .
that MERS holds only legal tltle to the 9nterests granted by Borrower in this Seourity Instrument, but, if necessary to comply
with law or custom, MEF2S (as nominee for Lender and Lender's successors and assigns) has the right: to exerclse any or
all of those Interests, including, but not limlted to, the right to foreclose and sell the Property; and to take any action required
of Lender including, but not llmlted to, releasing and canceling this Security Instrumerit.

    BORROWER COVENANTS that Borrower is lawfully seized of the estate hereby conveyed and has the right to
grant and convey the Property and that the Property is unencumbered, except for encumbrances of reaord. Borrower
warrants and wiil defend generally the title to the Property agalnst all cialms and demands, subject to any encumbrances
of record.                                                                                                             I

    THIS SECURITY INSTRUMENTcombines uniform covenantsfor nattonal use and non-unifdrm covenantswith lfmited
variations by jurisdic8on to constitute a uniform security instrument covering real property.

    Borrower and Lender covenant and agree as follows:

    UNIFORM COVENANTS.
    1, Payment of Princlpal, Interest and Late Charge. Borrower shall pay when due the princlpal of, and Interest on,
the debt evidenced by the Note and Iate charges due under the Note.
    2. MonthFy Payment of Taxes, Insurance and Other Charges. Borrower shall itnclude in each monthiy payment,
together with the principal and Interest as set forth In the Note and any late charges, a sum for (a) taxes and special
assessments levied or to be levied against the Property, (b) leasehold payments or ground rents on the Property, and
(c) premiums for insurance required under paragraph 4. In any year in which the Lender must pay a mortgage ]nsurance
prerqiurn to the Secretary of Housing and Urban Development ("Secretary"), or ln any year ln which such premium would

FHA Californla Deed of Truat • 06                                                                                     --
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Eille Mae, Inc.                                           Page 2 of 8                                           CAEFHALD 0514
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                                                                                                         LoAN #: 209510660 ~
have been required lf Lender still held the 5ecurity Instrument, each monthly payment shall also include e€ther. (1) a sum
for the annual mortgage insurance premium to be paid by Lender ta the Secretary, or (€€) a monthly charge Instead Lof a
mortgage insurance premiurn if this 5ecurity Instrument €s held by the Secretary, in a reasonable amount to be determined
by the Secretary. Except for the monthiy charge by the Secretary, these items are called "Escrow ltems" and the sums paid
to Lender are called "Escrow Funds."
    Lender may, at any gme, collect and hold amounts for Escrow €tems In an aggregate amount notto exceed the max€mum
amount that may be re,quired for Borrovlier's escrow account under the Real Estate Settlement Procedures Act of 1974,
12 U.S.C. Section 2601 et seq, and implement€ng regulatlons, 24 CFR Part 1024, as they may be amended from time to
time (°RESPAI, except that theoushion or reserve perm€tted by RESPAfor unanticipated disbursements or disbursements
before the Borrowers paymentsare available in the account may not be based an amounts duefor the mortgage Insurance
premlum.
    If the amounts held by Lender for Escrow Items exceed the amounts permitted to be held by RESPA, Lender shall
account to Borrower for the excess funds as required by RESPA. If the amounts of funds held by l.ender at any time Is
not suffrcient to pay the Escrow Items when due, Lender may notlfy the Borrower and require Borrower to make up the
shortage as permitted by R1=SPA.                                                             ,
    The Escrow Funds are piedged as additional security for all sums secured by this Security tnstrument. If Horrower
tenders to Lenderthe full payment of all such sums, Borrower's accountshall be credlted with the balance remaining for all
installment items (a), (b), and (c) and any mortgage insurance premium iristallment that Lender has not become obligated
to pay to the Secretary, and Lender shall promptsy refund any excess funds to Borrower. lmmedlately prior to a foreclosure
sale of the Property or its acqulsition by Lender, Bon•ower's account shall be credited with any balance remaining for all
installments for items (a), (b), and (c).
    3. Application of Payments. All payments under paragraphs t and 2 shall be appiled by Lender as follows: ;
     F€rst, to the mortgage €nsurance premium to be patd by Lender to the 5ecretary or to the rnonthly charge by the Sec-
retary instead of the monthly mortgage Insurance premlum;
    Second, to any taxes, special assessments, leasehold payments or ground rents, and ifre, flood and other hazard
Insurance premiums, as required;
    Th1rd, to Interest due under the Note;
    Kourth, to amortization of the pr€ncipal of the Note: and
    Fhfth, to late charges due under the Note.
    4. Fire, Flood and Other Hazard lnsurance; Borrower shall Insure 211 improvements on the Property, whether
now in existence or subsequently erected, against any hazards, casualties, and contingencies, including f€re, for which
Lender requires insurance, This insurance shall be maintained In the amounts and for the periods that Lender requires.
Borrower sha11 also insure all improvements on the Properfy, whether now in exlstence or subsequently erected, against
loss by 1loods to the extent requ€red by the Secretary. AI€ insurance shall be carried with companies approved by Lender.
The insurance pollcies and any renewals shali be held by Lender and shall include loss payable clauses in favor of, and
in a form aeceptable to, Lender.
     In the event of loss, Borrower shall give Lender lmmediate notice by mail. Lender may make proof of loss if not made
promptly by Borrower. Each insurance company concerned Is hereby authorized and direeted to make payment for sueh
loss direetly to Lender,,instead of to Borrower and to Lender Jointly. Al1 or any part of the insurance proceeds may be applied
by Lender, at its option, either (a) to the reduction of the indebtedness under the Note and thls Security Instrument, first to
any delinquent amounts appi€ed in the order in paragraph 3, and then to prepayment of principal, or (b) to the restoraflon or
repair of the damaged Property. Any application of the proceeds to the principal shall not extend or postpone the due date
of the monthly payments which are referred to in paragraph 2, ar change the amount of suah payments. Any excess insur-
ance proceeds over an amount required to pay all outstanding indebtedness under the Note and this Security Instrument
shall be paid to the entity legaliy entitled thereto. In the event of foreclosure of this Security Instrument or other transfer of
title to the Properfy that extinguishes the indebtedness, all right, tltle and,interest of Borrower in and to insuranae pollcies
in force shall pass to the purchaser.
    S. il'ceupancy, Preservatton, Maintenanee and Pr4tectlon of the Property; Borrower's Laan Application;
Leaseholds. Borrower shaii occupy, establish, and use the Property as fiorrower's principal residence within sixty days
after the execution of this Security Instrument (or within slxty days of a later sale or transfer of the Properly) and shall
continue to occupy the Property as Borrower's principal residence for at least one year after the date of occupancy,
unless Lenderdetermines that requirementwil) cause undue hardship for Borrower, orur♦less extenuating circumstances
exist which are beyond Borrower's control. Borrower shall notify Lender of any extenuating circumstances. Borrower
shall not commit waste or destroy, damage or substantially change the Property or allow the Property to deteriorate,
reasonable wear and tear excepted. Lender may inspect the Property €f the Proparty is vacant or abandoned or the
loan Is in default. Lender may take reasonable actien to proteet and preserve such vacant or abandoned Property.
Borrower shall also be; In default if Borrower, during the loan application process, gave materlatly false or €naccurate

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                                                                                                               LOAN #: 201[510860
      Information or stateme'nts to Lender (or failed to provide Lender with any material information) In connection with the
      loan ev(denced by the Note, Including, but not.limited to, representations concerning Borrower's occupancy of the
      Property as a prindpal residence. If this Security Instrurnent Is on a leasehold, Borrower shall comply with the provi-
      sions of the lease. If Borrower acquires fee title to the Property, the leasehold and fee title shall not be merged unless
      Lender agrees to the merger in writing.
           B. Condemnatton. The proceeds of any award or clalm for damages, direct or consequential, In connection with any
      condemnation or other taking of any part of the Property, or for conveyance ln place of aondemnation, are hereby assigned
      and shall be pafd to Lender to the extent of the full amount of the indebtedness that remains unpald under the Note and
      this Securlty Instrument. Lender shall apply such proceeds to the reduction of the indebtedness under the Note and this
      Securlty Instrument, first to any deiinquent amounts appCed in the order provided in paragraph 3, and then to prepayment
      of principal. Any application of the proceedds to the princlpal shall not extend or postpone the due date of lhe monthly pay-
      ments, which are referred to In paragraph 2, or change the amount ofsuch payments.Any excess proceeds over an amount
      required to pay all outstanding indebtedness under the Note and this Security Instrument shail be paid to the entity legally
      entitled thereto.
           i. Charges to Borrowerand Protection of Lettder's Rights In the Proparty. Borrower shall pay all governmental
      or municipal charges, Bnes and imposltlons that are not Included in paragraph 2. Borrower shall pay these obligations on
      time direotly to the entitywhich ls owed'the payment. lf failure to paywould adversely affeot Lender's interest [n the Properry,
      upon Lender's request Borrower shall promptly fumish to Lender receipts evidencing these payments.
           If Borrower falls to make these payments or the payments required by paragraph 2, or falis to perrorm any ather cov=
      enants and agreements eontained in this Securlty Instrument, or there ls a legal proceeding that may significantly affect
       Lendor's rights in the Property (such as a proceeding In bankruptcy, for condemnation or to enforce laws 4r regulations),
      then Lender may do and paywhatever Is necessary to protect the vafue of the Property and Lender's rights ln the Property,
      Inclttding payment of taxes, hazard insurance and other items mentioned In paragraph 2.
           Any amounts disbursed by Lender under thls paragraph shall become an additional debt of Borrower and be secured
      by this Security Instrument. These amounts shall bear interest from the date of disbursement, at the Note rate, and at the
      option of Lender, shail be Immediately due and payable.
           Bofrowershall promptiy discharge any lien whlch has priority overthis Securlty lnstrurnent unless Borrower: (a) agrees
       In wrlting to the payment of ihe obligation secured by the lien in a manner acceptable to Lender; (b) contests in good faith
      the lien by, or defends againstenforcement of the lien in, legal proceedings which In the Lender's opinPon operate to prevent
      the enfoncement of thd lien; or, (c) secures from the hoider of the Nen an agreement satisfactory to Lender subordinating
      the iien to this Securlty Instrument. If Lender determitnes that any part of the 1'roperty is subJect to a lien which may attain
       prlority over this Seeurity Instrument, Lender may give Bon•ower a notice Identifying the lien. Borrower shall satisfy the lien
      ortake one or more of the actions set forth above within 10 days of the giving of notice,
           8. Pees. Lender may coliect fees and charges authorized by the Secretary.
           9. Grounds for Aceeleration of Debt.
                (a) Default. Lendermay, except as Ilmited by reguiations Issued by the Secretary, In the case of payment defaults,
                requlre Immedlate payment in fuli of all sums secured by this 5ecurity Instrument if:
                    (1) Borrower defaults by failing to pay In fuil any monthly payment required by this Security Instrument prior
                    to or on the due date of the next monthly payment, or
                    (ii) Borrower defaults by faiCng, for a period of thirty days, to perform any other obligations contained in this
                    Sectarity Instrument.
                (b) SaleVHithout CredltApproval. Lender shaq, if permitted by appiicable law (including Sectfon 341(d) of the
                Oarn-St. Germain Depository Institutions Act of 1982, 12 U.S.C. 1701j-3(d)) and with the prior approval of the
                Secretary, requlre Immedlate payment In full of all sums secured by this Security lnstrument If:
                    (i) Ap or part of the Property, or a benefiotal interest in a trust owning all or part of the Properry, is sold or
                    otherwise transferred (other than by devise or descent), and
                    (il) ThePropertyisnotoccupiedbythepurchaserorgranteeashisorherprincipalresidence,orthepurchaser
                    or grantee does so occupy the Property but his or her credit has not been approved In accordance with the
                    requirements of the Secretary.
                (c) No Walver. If circumstances occur that wouid permit Lender to require lmmediate payment in full, but Lender
                does not require such payments, t.ender does not waive its rights with respect to subsequent events.
                (d) Regutatlons of HUD Secretary. In many clrcumstances regulations issued by the Secretary will Iimit [.ender's
                rights, In the case of payment defaults, to require immediate payment in full and foreclose if not paid. This Sacurity
                Instrument does not authorize acceleration or foreclosure if nol permitted by regulations of tfle Secretary.
                (e) Mortgage Not Insured. Borrower agrees that if this Securlty Instrument and the Note are not determined to
                be eligible for insurance under the National Housing Act within 60 days from the date hereof, Lender may, at its
                option, require Immediate payment in full of a11 surns secured by thts Security Instrument. A written statement of
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                                                                                                             LOAN #: 201510660 ~
             any authorized agent of the Secretary dated subsequent to 60 days from the date hereof, decllning to insure this
             Security Instrument and the Note, shall be deemed conclusive proof of such ineligibility. Notwithstanding the fore»
             going, thls option may nat be exerclsed by Lenderwhen the unavailability of tnsurance is soiely due to Lender's
             failure to remit a mortgage lnsurance premium to the Secretary.
         10. Relnstatement. Borrower has a right to be reinstated if Lender has required immediate payment in full because
    of Borrower's failure to pay an amount due under the Note or this Securlty Instrument. This right applies even after fore-
    closure proceedings are Instituted. To reinstate the Security Instrument, Horrower shall tender in a lump sum a11 amounts
    required to bring Borrower's account current including, to the extent they are obligations of Borrower under this Security
~   Instrument, forectosure costs and reasonable and customary attomeys' fees and expenses properly associated with the
    foreclasure proceeding. Upon reinstatement by Borrawer, this Securtty,lnstrument and the obligations that it secures
    shall remain in effect as IP Lender had not required Immediate payment In fuli. However, Lender Is not required to permit
    reinstatement if: (i) Lender has accepted relnstatement after the commencement of foreclosure proceedings within two
;   years lmmediately preceding the ccmmencement of a aurrent foreclosure proceeding, (li) relnstatement will preclude
    forecfosure on different grounds in the future, or (iii) reinstatement wi11 adversety affect the prfority of the lien created by
    this Securlty Instrument.
         11, i3orrower Not Released; Forbearance 8y Lender Not a Waiver. Extension of the time df payment or modlri-
    oatlon of amortizaton of the sums secured by thls Security Instrument granted by Lender to any successor In Interest of
~   Borrower shall not operate to release the liability of the original Borrower or Borrower's successor in Interest. Lender shall
    not be required to commence proceedings agalnst any successor In Interest or refuse to extend time for payment or other-
    wise modify amortlzatlon of the sums secured by this Security Instrument by reason of any demand rnade by the original
    Borrower or Borrower's successors in interest. Any forbearance by Lender in exercising any right or remedy shail not be a
    walver of or preclude the exercise of any rlght or reroedy.
         12, Successors and Assigns Bound; Joint and Several Liability; Co-Signsrs.The covenants and agreements of
    this Security Instrument shall bind and benef(t the successors and assigns of Lender and Borrower, subject to the provi-
    sions of paragraph g(b). Borrower's covenants and agreements shail be joint and several. Any 6orrower who co-signs this
    Secutily Instrument but does not execute the Note; (a) Is co-signing thls Security Instrument oniy to mortgage, grant and
    convey that Horrower's Interest In the Property under the terms of this Security instrument; (b) Is not personally obligated to
     pay the sums secured by this Security Instrument; and (c) agrees that Lenderand any other Borrower may agree to extend,
     modify, forbear or make any accommodatlons with regard to the terms of this Security Instrument or the Note without that
    Bon•ower's consent.                         1
         13. Notices. Any notioe to 6orrower provided for in thls Securlty lnstrument shall be given by delivering it or by mail-
    Ing It by first class mail unless applicable law requires use of another method. The notice shall be directed to the Property
    Address or any other address Hon'ower designates by notice to Lender. Any notice to Lender shall be given by first class
'    mail to Lender's address slated herein or any address Lender designates by notice to Borrower.
          Any notice provided for In this Secur(ty Instrument shall be deemed to have been given to Borrower or Lender when
,   given as provided In thls paragraph.
         14. Governing Law; Severability. This Security instrument shall be govemed by Federal law and the law of the
~    jurisdiction in which the Property Is located. In the eventthat any provisfon or clause of this Security instrument or,the Note
     conflicts with applleable law, such conflict shall not affect other provisions of this Security Instrument or the Note which
     can be given effectwithout the conflicting provisfon. To thls end the provislons of this Security Instrument and the Note are
    declared to be severable.
         16. Borrower's Copy. Bdrrower shall be given one conformed copy of the Note and of this Security lnstrument.
         16. Haxardous Substances. Borrower shall not cause or permit the presence, use, disposal, storage, or release of
     any Hazardous Substanoes on or in the Property, t3orrower shall not do, nor allow anyone else to do, anything affecting the
     Property that Is in violation of any Environmental Law. The preceding two sentences shall not apply to the presence, use,
     or storage on the Property of small quantities of Hazardous Substances that are generaliy reoognized to be appropriate to
     normal residentlal uses and to maintenance of the Property.
          Borrower shali promptiy give l,ender written notice of any lnvestigation, claim, demand, lawsuit or other action by any
,    governmental or regulatory agency or prlvate party involving the Property and any Hazardous Substance or Environmental
~     Law of whioh Borrower has actual knowledge. If Borrower leams, or is notlfied by any government,al or regulatory authority,
;    that any removal or other remedlatlon of any Hazardous Substances affecting the Property is necessary, Borrower shall
     promptiy take all necessafy remedial actions in accordance with Environmental Law.
I         As used In this paragraph 16, "Hazardous Substances° are those substances defined as toxic or hazardous substances
;     by Environmental Law and the foilowing substanees: gasoline, kerosene, other flammable or toxic petroleum products,
~    toxlc pesticides and herbicides, voiatile solvents, materials contalning asbestos orformaldehyde, and radioactive materlals.
,    As used In this paragraph 16, °Environmental Law" rneans federal laws and laws of the jurisdiction where the Property Is
;    located that relate to health, safety or environmental protection.

    FHA callfornla Dead of Trust • 4198                                                              Initlal s: I&t =--
    F.11ie Mae, inc.                                      Page 5 of S                                         cAEFHAUI 0514
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Case 2:20-cv-09465-JAK-JPR Document 1-1 Filed 10/15/20 Page 22 of 60 Page ID #:27




                                                                                                        LOAN #: 201510660
                                                                                                                                   I
     NON-UNIFORM COVENANTS. -Borrower and Lender further covenant and agree as follows:
    17. Asslgnment of Rents. Borrower uncondiEionally assigns and transfers to Lender all the rents and revenues ofthe
Properly. Borrower authorizes Lender or Lender's agents to collect the rents and revenues and hereby directs each tenant
of the Property to pay the rents to Lender or Lender's agents. However, prior to l.ender's notice to Borrower of Borrower's
breach of any covenant or agreement In the Security Instrument, Borrower shall coilect and receive all rents and revenues
of the Property as trustee for the benefit of Lender and Borrower. This assignment of rents constitutes an absolute assign-
ment and not an assignment for additional security only.
     If Lender glves notice of breach to 134irrower: (a) all rents reoeived by 6orrower shall be held by Borrower as trustee for
benerit of Lender only, to be applled to the sums secured by the 5ecurity Instrument; (b) Lender shall be entitled to collect
and receive all of the rents of Ihe Property; and (c) each tenant of the Property shall pay all rents due and unpaid to Lender
or Lender's agent on Lender's written demand to the tenant.
    Borrower has not executed any prlor assignment of the rents and has not and will not perform any act that wouid prevent
Lender from exercising its rights under this paragraph 17,                  1
    Lender shall not be required to enter upon, take control of or maintain the Properry before or after giving notice of breach
to Borrower. However, Lender or a Judicially appointed receiver may do so at any time there Is a breach, Any application of
rents shall not cure or waive any default or invaiidate any other right or remedy of Lender. This assignment of rents of the
Properry shall terminate when the debt secured by the Security Instrument Is paid In full.
    18. Foreelosure Proeedure. If Lender requires Immediate payment in fult under paragraph 9, Lender may
Itnvoke the power of sale and any other remedies permitted by applicable law. Lender shall be entitled to collect all
expenses incurred in pursuing the remedies provided in this paragraph 18, Including, but not limited to, reason-
able attorneys' fees and costs of title evidence.
     If Lender Invokes the power of sale, Lender shall execute or cause'iYustee to exeeute a wrltten notice of the
occurrence of an event of default and of Lender's election to eause the Property to be sold. Trustee shall cause
this notice to be recorded in each county in which any part of the Property is located. Lender or Trustee shall
mail coples of the netice as prescribed by applicable law to Borrower and to the other persons prescribed by
applicable law. Trustes shall glve publlc notloe ofsale to the persons and in the rnanner prescribed by appilcable
law. After the time required by appllcable law, Trustee, without demand on Borrower, shall sell the Property at
public auction to the highest bidder at the time and place and under the terms designated in the notice of sale In
one or'more parcefs and In any order i'rustee determines. Trustee may postpone sale of all or any parcel of the
Property by publie announcement at the time and place of any prevtously scheduled sate. Lender or its designee
rnay purchase the Property at any sale.
     Trustee shall deliver to the purchaser 1Yustee's deed conveying the Property without any covenant or war.
 ranty, expressed or Implied. The recltals In the Trustee's deed sha11 be prima facle evldence of the truth of the
statements made therein. Trustee shall apply the proceeds of the sale In the foliowing order: (a) to all expenses
of the saie, Including, but not limlted to, reasonable Trustee's and attorneys' fees; (b) to all sums secured by this
Security Instrument; and (c) any excess to the person or persons legally entitled to It.
     If the Lender's interest in this Security lnstrument (s held by the Secretary and the Secretary requires Immedlate
 payment in full under Paragraph S. the Secretary may InvoEce the nonjudicial power of sale provided In the Singte
Family Mortgage Foreclosure Act of 1994 ("Act") (12 U.S.C. 3751 etseq.) by requesting a rtoreclosure commissioner
 destgnated under theAct to commence foreciosure and to se11 the P,roperty as provided In the Act. Nothing ]n the
 precedtng sentence shall deprive the Secretary of any rights otherwise available to a Lender under this Paragraph
 48 or applicable taw.
     19. Reconveyance. llpon payment of al1 sums secured by thls Security Instrument, Lender shall request Trustee to
 reconvey the Property and shall surrender this Security Instrument and all notes evidencing debt secured by this Security
 Instrument to Trustee. Trustee shall recorrvey the Properry without warranty and without charge to the person or persons
 legally entitled to it. Such person or persons shall pay any recordatlon costs,
     20. Substitute Trustee, l.ender, at Its option, may from time to time appoint a successor trustee to any Trustee
 appointed hereunder by an instrument executed and acknowledged by Lender and recorded in the ofnce ofthe Recorder of
 the county in which the Property Is located. The Instrument shall contain the name of the original Lender, Trustee and Bor-
 rower, the book and page where this Securlty Instrument is recorded and the name and address of the successor trustee,
 Wtfhout conveyance of the Property, the euccessor trustee shall sueceed to all the title, powers and dulies conferred upon
 the Trustee herein and by appticable law. Thls procedure for substitution of trustee shail govem to the exciuslon of all other
 provisions for substitution.
    21. RequestforNotices.BorrowerrequeststhatcoplesofthenoticesofdefauttandsalebesenttoBorrower'saddress
whlch ls the Properry Address.
    22, Beneflclary Statement. Lender may rollect a fee, not to exceed the maximum amount permitted by law for
furnlshing Benef(clary statement as provided by Section 2943 of the Civil Code of Callfornla.

 FNACalifornlaUeedofTrust-a/9e                                                                         InitlalS: ~~ .
 Ellle Mae, ino.                                         Page 6 of 8                                        CAEPHALD U614
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Case 2:20-cv-09465-JAK-JPR Document 1-1 Filed 10/15/20 Page 23 of 60 Page ID #:28




                                                                                                 LOAN #: 24151 q86fl
     23, Riders to this Security Instxument lf one or m4re rlders are executed by 6orrower and recorded together with
this Security lnslrument, the covenants of each such rider shall be incorporated into and shall amend and suppiement the
covenanta and agreements of this Security Instrument as If the riden;s) were a part of this Security Instrument.
[Check applicable box(es)]
    RI Condominlum Rider               ❑ Growing Equlty Rider        ❑ Planned Unit Development Rlder
    ❑ Graduated Payment Rider          ❑ Other(s) [specifyl



    The undersigned Borrower reyuests that a copy of any Nofice of Defauit and any Notice of Sale under this Security
Instrument be mailed to Borrower at the address set forth above.
     sY SIGNING BELOW, Borrower accepts and agrees to the terms contained in this Security Instrument and in any
rider(s) executed by Borrower end recorded with it.




 FHA Califomla Deed orTr►tst - 419a                                                              lnitials: N'.tc:-.
 Ellie Mae, fnc.                                      Page 7 of S                                        CAEFHALD 0614
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Case 2:20-cv-09465-JAK-JPR Document 1-1 Filed 10/15/20 Page 24 of 60 Page ID #:29



                                                                                                                        I
                                                                                            LOAN #: 201510660




A notary public or other officer compieting this certificate verifies only the Identity of the individual who
signed the document to which this certifrcate Is attached, and not the truthfulness, accuracy, or validity of
that document.



State of CALIFORNIA
County of LOS ANGELES


     On a~PYY~I~W
               ~'            `0 ~ I.J~J ~         , before me,                                        ~Cl~1 l G
(here Insert name and title of the officer), personaliy appeared JAMIL GEORGE RABADI, who plrrbved to me
on the basis of satisfactory evidence to be the person(s) whose name(s)1sJare subscribed to the within
Instrument and actcnowledged to me that helshelthey executed the same in hlslherltheir authorixed capacity
(ies), and that by hisiherlthetr signature(s) on the instrument the person(s), or the entity upon behalf of
whieh the person(s) acted, executed the Instrument.

    1 certify under PENALTY OF P(:RJURY under the laws of the State of California that the foregoing
paragraph is true and correct.
      WiTNESS m hand and o               I seal.
                        ..
      Signature

              V;tlCLlAI ,n~~-2a.                   (NOTARY)


      (SEAL)                                        SHANbI STASEN
                                                 Commission # 2113290,
                                     ■          Notary Rubtic • Cal{tar.nla
                                                   Los Angeles Gounty
                                              My Comm. Expires Jun 24. 2019 M




Lender: SKYLINE FINANCIAL CORP.
NMLS ID: 12072
Loan Originator: Camron Gtenn Cubak
NNiLS ID: 310344




FHA Caltfomia Deed of Trust • 4l96                                                         Initials:
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                                                                              LOAN #: 201510660
                                                                       MIN:1001851-0201111380-9



                                                                     FHA Case No.
                                                                     197-7321504
                                                                               4-734-234C



                                         CONDOIVIINI:UM RIDER

        THIS CONDOMINIUM F21DER is made this 9th '           day of December, 2015,
     and is incorporated into and shall be deemed to amend and suppiement the Mortgage,
     Deed ofTrust or Security Deed ("Security Instrument") of the same date given by the.
     undersigned ("Borrower") to secure Borrower's Note ("Note") to SKYLINE FINANCIAL
     CORP., A CALIFORNiA CORPORATION




     ("Lender`) of the same date and covering the Property described in fihe Security
     Instrument and located at:
     31761 Paseo Sonito
     Castalc Area, CA 91384.



     The Property inciudes a unit in, together with an undivided interest in the common
     elements of, a condominium project known as:
     Camino Dei Lago

     ("Condominium Project"). If the owners association or other entity which acts for
     the Condominium Project ("Owners Association") hoids titie to property for the
     benefit or use of its members or sharehoiders, the Property also inciudes Borrower's
     interest in the Owners Association and the uses, proceeds and beneftts of Borrower's
     interest.

     FHA Muttlstate Condominlum Etlder -10195                                InitiAls:
     Ellle Mae, Inc.                            Pege 1 of 3                           f'8 OCLU 0508
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                                                                                                         C.V




                                                                               F.AAN #: 201510660
             CONDOMINIUM COVENANTS. In addition to the covenants and agreements
         made in the Security Instrument, Borrower and Lender further covenant and agree as
         follows:

             A. So long as the Owners Association maintains, with a generally accepted
                insurance carrier, a"master" or "blanket" policy insuring all property subject
                to the condominium documents, including all improvements now existing or
                hereafter erected on the Property, and such policy is satisfactory to Lender
                and prov.ides insurance coverage in the amounts, for the periods, and
                against the hazards Lender requires, Including fire and other hazards
                included withln the term °extended coverage,u and loss by flood, to the
                extent required by the Secretary, then: (i) Lender waives the provision in
                Paragraph 2 of this Securlty Instrument for the monthly payment to Lender
                of one-twelfth of the yeariy premium installments for hazard Insurance on the
                Property, and (€€) Borrower's obl€gation under Paragraph 4 of thia Security
                Instrument to malntain hazard insurance coverage on the Property 9s deemed
                satisfied to the extent that the required coverage is provided by the Owners
                Association policy. Borrower shall give Lender prompt notice of any lapse In
                 required hazard insurance coverage and of any loss occurring from a hazard.
                 In the event of a distribution of haxard insurance proceeds in 1€eu of restoration
                or repair following a loss to the Property, whether to the condominium unit
                or to the common elements, any proceeds payable to Borrower are hereby
                assigned and shall be paid to Lender for application to the sums secured by
                this Security lnstrument, with any excess paid to the ent€ty legally entitled
                thereto.                                            I

              B. Borrower promises to pay all dues and assessments 9mposed pursuant to the
                 legal instruments creating and governing the Condominium Project.

              G. If Borrower does not pay condominium dues and assessments when due,
                 then. Lender may pay them. Any amounts disbursed 6y Lender under this
                 paragraph C shall become additional debt of Borrower secured by the Security
                 Instrument. Unless Borrower and Lenderagree to other terms of payment, these
                 amounts shall bear interest from the date of disbursement at the Note rate and
                 shall be payable, with interest, upon notice from Lender to Borrower requesting
                 payment.
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         FHA Multistate Condominlum R1der-14199                                Initlals:
         Eltle Mae, Inc.                          Page 2 of 3                          P87 CW 0609
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                                                                LOAN #: 201510660
        BY SIGNENG BELOW, Borrower accepts and agrees to the terms and provisions
     contained in this Condominium Rider.



     dAMiL GEORGE RABADI




     FHA Muttlstate Condominfum Rider • 10195
     Elite Mae, lnc.                            Page 3 of 3             P8700CLU 0508
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                                                 EXHIBI'[; A
                                           LEGAL DRSCR.iMON

        THE LAND REFERRBD TO HERFSIN BELOW IS SITUATED IN '[TIE COUNTY OF LOS ANGELES, STATE OF
        CALIFORMA, AND ISDB.SC12I9ED AS FOLLOWS:

        A CONDOMATR]Ivi COMPRISED OF:

        PARCEL 1:

        UNIT N0. 23 OF LOT 10F+ TRACT N0. 60024, IN THE COUNTY OF LOS ANGELL'S, STATE OF CALIFORMA, AS
        I'ER MAP RECORDED TN BOOK 1319, PAGES 46 THI2OUGH $l, INCLUSIVE OF MAPS, AND AS SFIOWN AND
        DESCRI86D ON THAT CERTAIN CONDOMINIUM PLAN FOR LOT i OF TRACT NO. 60024, RECOItDED ON
        JANUARY 16, 2007, AS 1NS'I'RUMfrNT N0. XX-XXXXXXX ("CONDONffNIUM pLAN'), OFFICIAL RECORDS, ALL 1N
        '1'FE OFFICE OP THE CAUNTY RECORDER OF SACD COUNTY. :

        E7fCEPTING THEREFROM, THOSE INTERESTS aT1 ALL OIL GAS, PETROLEUM AND OTHER NaNERALS OR
        HYDROCARBON SUBSTANCES RESERVED BY 7UNE K. KTNLER BY DEED RECORDED OCTOBER 4, 1956 TN
        BOOK 1571 PAGE 16 AND BY AGREEMENT RECORDED OCTOBER 4, 1956 IN BOOK 1571 PAGE 18, BOTIi OF
        OFFICIAL #tBCORDS.

        ALSO EXCEPTING TEREFROM AIJL OIL pIL. RIGHTS, 1v1INERALS, MWERAL RIGI•ITS, NA3'URAL CiAS
        RIGEITS, AND OTHER 13YAROCARAONS BY W14P.TSOEVERNAME KNOWN, GEOTEIL•"RMAL S'1EAN1 AND ALL
        PRODUCTS DERIVEA F1tOM ANY OF TIHE FOREGOING. THAT MAY BE WITBIN OR LINDER TM PARCEL OF
        LAND EJFUINABOVE DESCRIBED, TOGETEII;R WITEi TH6 PERPETUAL RIGHT OP DRILLING, MlN]Na, OR
        EXPLORING AND OPERATING TFIERTXORE AND STORING IN AND 1tEIvI0VING SAME FROM SA1D LANID OR
        ANY OTHER LAND, INCLUDING TFX RIGEiT TO WEIIPSTOCIt OR DIRECTIONAY.I.Y DRILL AND IvSINE FROM
        LANDS OTIiER 'IHAN THOSE HEREINABOVE DESCRffiBD, OIL OR GAS WELLS, TiJNNELS AND SHAFTS
        INTn, TIiR0U0ET OR ACROSS TE3E SUBSURFACE OF TIiE LA.rID HEREIIdABOVE DESCRFBED, AND TO
        BOTTOM SUCH WlVSTOCKED OR DIl2ECTIONALLY DRJLLED WELLS, TUNNELS AND SHAFTS UNDER AND
        BENEATH OR BBYOND TIIE EXTERIOR LIMITS THEREOF, AND TO REDRQ.L RETCTNN'EI. EQUA', MAIN'fAL'~I,
        1ZEPAIR, DEEPEN, AND OPERATE ANX SUCH WELLS OR nANES WITHOUT, HOWEVER THE RIGHT TO DRLLL,
        M1NE, STOR&, EXPLORE OR OPETtATE TI11t0UGE1 T11E SURFACE OR THE UPPER S00 FEET OF THE
        SUBSURFACE OF TIM LATfI?, AS RESERVED BY 'fHE NEWHALL I.AND AND FARMING COWANY (A
        CALIFORNIA T.,IMITED PARTNERSHIP), A LIMITED PARTNERSHIP IN 'IIiB DEEU RECOItDED AUGUST,26,
        2005, AS INSTRUMENf N0. XX-XXXXXXX, OFF1CiAL ItZrCORDS OF LOS ANGELES COUNTY.

        PARCEL 2:
        AN UNDkVIDED 1/6Tli Fa8 SIMPLE INTEREST AS A TENANT 1N COMMON IIV AND TO THH PHA.SE 3
        COIutMON AREA OF LOT 1 OF TRACT NO. 60024, AS SHOWN AND DF.SCRIBED IN TIM CQNpOMINIUM PLAN.

        PARCEL 3:
        NONEXCLUSIVE EASEMENTS FOR ACCESS, INGRESS, EGRESS, USE, ENJOYMENT, DRAINAGE,
        EIJCROAC13M1;NT, SUPPORT, MAIN1'F.NANCE, REPAIRS, AND FOR O'I73ER PURI'OSES, ALL AS DESCR®ED IN
        'fH6 DECLARATION OF COVENANTS, CONDIITONS ANb RESTRICTIONS AND RESERVATION OF
        EASIIv11jrNTS FOR CAMINO DEL LAGO ('DECLARATION"), RECORDED ON JANIJARY 19, 2007, AS
        INSTRUMENT N0. 07-111415 OF OFFICIAL RECOI2DS OF LQS AN4ELES COLJN'1'X, CALIFORNIA,INCLUDING
        ANY ANlI?NDMENTS TIIMTO.


         APNt 2865-100-096
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                                                                        California
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Case 2:20-cv-09465-JAK-JPR Document 1-1 Filed 10/15/20 Page 30 of 60 Page ID #:35




   Rccording requeated by:
   L5I Tltie Company
   Whea Racarded Mail To:
   BARRETf DAFFIN FRAPklER TREUER 8e
   WE188, LLP
   4004IIe1t Line Road, Suite 100
   Addhon, Texas 75001-4320
   APN#: 2865-100-086
   Property Addreas:
   31761 PASEO BO1Vt'FO
   CASTAIC AREA, CAY.IFOBNIA 91384

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                   DFF00000007024078



                                         Trostee Sale Xo. : 00000087024078       Titie Order NTo.: 170344966

                                            XMPORTANT NOTICE
                               NOTICE OF DEFAULT AND ELECTION TO SELL UNDER
                                              DEED OF TRUST


   ATTENT[ON RFCORDER: THE FOLLOWING REFEItENCE TO AN AT"xACIIED SIJMMAIdY Al'PI.iEB
   ONLX TO COPIE9 PROVID1tD TO TEi1E TRCJSTOR, NOT TO THI3 RECORDED ORIGINA.L NOTiCE.

                  NOTE: THERE IS A SUMMARY OF THE iNFORMATION tN THIS DOCUMENT ATTACHED
                                                                                                               .
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                   NOTA: SE ADdUNTA UN RESUMEN DE LA iNFORMAC16N DE ESTE DOCUNIENTO
                TALA: MAYROONG BUOD NG IMPORMASYON SA DOKUMENTONG ITO NA NAKALAKIP
                 l,tPU Y: i(E~M THEO f1AY LA BAN TRfiNH 9AY TOM (.U'¢C !/t THONG TIN TRONG T/11
                                                   LI~U NdY

   1F YOUR PROPERTY , IS TN FORECJLOSURE BECAUSE YOU ARE BEBTND IN
   YOUR PAYMEN'i'S 1T MAY BE SOLD VVITHOUT ANY COURT ACTION, and you
   may have the iegal rii;ht to bring your account in good standung by paying ali of your past dne
   payments plus permitted costs and eapenses withia the tiute permitted by law for reinstatement of yonr
   account, which is: normalty. five business days prior to tile date set £or the sale of your property. No sale
   date may be set until approximately 90 days from the date this Notice of Default may be recorded
   (which date of recordation appears nn this natice).

   Tllis amount is 515,015.42 as of 09/2512017 and wili increase untff yaur aceount becomes current.
   WhRe your property is in -foreclosutB, you stiU. mnst pay other obiiptiorls (such as insaranee and taxes)
   required by your note and deed of trust or mor(gage. If you fail to make intture payments on the Ioan,
   pay taxes on tho praperty, provide insuraace an the property, or pay other obligations as required in
   the note and deed of trast or mortgage, the beneficiary or naortgagee may ineist that yon do so ' in order
   to reinstate yoar acconnt in good standing. In addition, the benefceiary or mortgagee may reguiro as a
   condition of reinstatement tbat you provide rellable written evidence that yoa psid aI1 senior Sens,
    FG0.4 NodceOmefault.ipt.8eemd-(USl142015}•Vw-41                                                                PagelaF3
Case 2:20-cv-09465-JAK-JPR Document 1-1 Filed 10/15/20 Page 31 of 60 Page ID #:36



 F
                                                              IIliPO1tTANP NOTICE
                                   NO'I'ICE OF DFO'AIILT AND ELECPiOPI TO SELL UNDL+R DEED OF TRilBT
                                        Trusbe® SaleNo. t 60000007024075      Title OrderNo.: 170344966

     propertytages, and hazard lnsarantcepremiums.

     Ylpon your wriitea request, the beneficlary or mortgagee         give you a written itezaixation of the
                                                                             well


     ent4re amount you must pay. You aray not have to pay the, ent9re unpaid portion of your aceount, even
     though full payment was demanded, but you must pay aU amounts in default at the t4me payment is
     made: However, you and your beneficiary or mortgagee may' mutually agree in wrxting prior to tbe time
     the notzce of sale fis posted (which may not be earlier than three months after this notice of default is
     recorded) to, among other tbings. (1) provide additioual thne in which to cure the default by transfer of
     the property or otherwise; or (2) egtabllasb a scheciule of payments in order to cure your defauEt; or both
     (I) and (2).

     Following the expiration of the time poriod referred to in the first paragraph o£ this notice, unless the
     obligation being foreclosed upon or a separate writtmt agreement betweea you antl your creditor
     permits a longer period, you have only the Iegal right to stop the sale of your           by paying the
                                                                                                     properiy


     enlire amount demaaded by yonr creditor.

     To f'iad out the amount you must pay, or to arrange for payment to stop the foreclosa:re, or If your
     property ts in foreclosure for any other reason, contact:

                                                     DITECH I+'INANCXAI. I,LC
                                       e!o BARRETT DAFF7N F'ttAPpIER TREDER & WEXSS, LLY
                                                    4004 Helt Line Road, Sufte 100
                                                     Addison, Texas 75001-4320
                                                           (86t] 79S-i852

     If you have any qnestions, you sltould contact a lawyer or tlte governmentul agency which may have
     insured yoar ioan.                                                                                         I



     Notwithstanding tl:e fact that yonr property ls in forer.losure, you niay ofFer your property,. for sale
     provided tFte sale 9s concluded prior to the coaclusfon of the foreclosure.

     REMEMBER, YOU MAY LOSE LEGAL RIGSTS IF YOU DO NOT TAIKE PROMPT
     ACTION.




      FCUS NottaeQa)oLyattspe.Rscord-(OSJ14/2e19).Yen-il                                                            Pag62or3
Case 2:20-cv-09465-JAK-JPR Document 1-1 Filed 10/15/20 Page 32 of 60 Page ID #:37



 6:
                                                   n"OnrANT NOTiaK
                              NOTICE OF DENAYJT.T AND ELECTION TO BELI. UNDER DEED OF TRUST
                                    Tnislee SalelVo. ; 00000007024078   T9fle OrderNo.: 170344966

      NOTYCE IS HEREBY GIVm TIiAT: BARRETT DAFFIN FRAPPIER 7'REDER 8'c WEISS, L.LP is
      the original Trustee, duly appointed Substituted Trustee, or acting as Agent for the Trustee or
      Beneficiary under a Deed of 7'rust dated 12/09/2015, executed by YAMIL GEORGE RABADI, A
      SINGLE MAN, as Trnstor, to secure obiigations in favor of MORTGAGE ELECTRONIC
      REGL4TRATION SYSMMS, INC. ("MEICS"), AS NONIDnE FOR SKXLINE FINANCiAL CORP.,
      A CALIFORNIA COltl'ORATION, ITS SLICCESSOYiS AND ASSIGNS, as BeneSciary Recorded on
      12/I412015 as Ynstrument No. 201$1563945 of otDcial recards ia the Office of the Recorder+ af LOS
      ANGELES Coun:ty, California, as moce fhlly described on said Deed of Truat, Yncluding a Notc(s)/
      Unwnditional Guaranty whtch had a principaI amount of S402,573.00 that tlte benoDcial interest under
      said Deed of Trast and the obfigations secured thereby axe preaently held by the $eneDciary,; that a
      breach of, and default in, the obligetions for which said Deed of Trast is security bss occurred In #hat
      the payment hae not been made otl,

      fiHE INSTALY,MENT OF 1'RINCIPAL AND 1NTEREST WMCkI BECAME DUE ON 411/2017 AND
      ALL SUBSirQUENT INBTAI,I.MENTS, 1'OGETHGR WXTH LATE CHARGIrS AS SET FORTS Il+I
      SAID NOTE AND DEED OF TRIUST; ADVANCES, ASSESSMENTS, FEES, ANDlOR TRUSTEE
      FEES, II' ANY.

      NOTIUNG IN THIS NOTICE SHALL BE CONSTRUED AS A WAIVER Op' ANY FEES OWING TO
      TIIE BENF,bTCIARY UNDER THE DEED OF TRUST, PURSIIAiVT TO TSE TERMS OF TM
      I,OAN DOCCTMENTS.

      That by reason thereof, tltc pre9ent beneficiary under said Deed of Trust and/or its 'loan servicer hereby
      deelare(s) a4 obligatioas secnred thereby immediately due and payable, invoke(s) the power of sale
      under said Deed of Trust, uad eiect(s) to sell the property described therein in sati9#'actfon of those
      obligations withont prejudice to any other default remedies permitted by appliesble law.

      DATED: 09/25/2017

      BARRETT DAFFIN FRAPPIEIs TREI?ER & WLISS, ELP as Trustee f©r Reneficiary




       rcvs rrduomeadcpt-xao,d-(osn4nois)-Vmai                                                          Pa&e3a[S
Case 2:20-cv-09465-JAK-JPR Document 1-1 Filed 10/15/20 Page 33 of 60 Page ID #:38



                      CA.LIFORNIA, DECLA.RATZON OF COMPLIANCE
                                 (Civi1 Code § 2923.55(c))

     Bormwer(s):
     aAMu. GEOIiGg RABADz
     Mortgage Servicer.
     DITL'CH FINANCCAI. LLC
     Property Address:
     31761 PA3E0BOM.TO
     CASTAIC AREA CA 91384
     T.S No:

     The undersigaed, as an autllorized agent or entployee of the mortgage servicer named below, declares
     that:

         1_ ❑ The mortgage servicer has contacted the Borrower pursuant to Califomia Civi1 Code §
            2923.55(b)(2) to "assess the borrower's financial situation and explore options far the borrower
            to avoid foreelosure". Thirty (30) days, or more, have passed sinee the imitiat contact was made.
            Initial contact was made on ~

         2. X     The tnortgage servicer has exercised due diligence to contact the borrower pursuant to
            Caiifortua Civil Code § 2923.55(fl to "assess the borrower's £'inancial situation and explore
            options for the borrower to avoid foreolosure". Thirty (30) da.ys, or Inore, have passed since
            these due diligence efforts were satisfied. The due diligence efforts were satisfed on ,
              05/22/2017            .

         3. ❑ No contact was required by the mortgage servicer because the individual did not meet the
            definition of'borrower" pursuant to subdivision (c) of Section 2920.5.

         4. ❑ No contact was made with the borrower pursuant to CiviI Code § 2923,55 because the above-
            re£erenced loan is not secured by a fitst lien mortgage or deed oE trust that seeures a loan
            deseribed in Civii Code § 2924.15(a).

     I certify and represent t11at this mortgage servicer's declaration is accwtnte, complete and based upon
     oolnpetent and reliable evideltGe, including my review o£the mortgage servicer's business records,

                                                          Ditech Financial I.LC


     Date:       08/30/2017


                                                          Jesse Fidel Martinez
                                                          Assistant Vice President



                                          ATTACHMENT TO NOTICE OF DEFAULT

     Calit'arnia Declaratton of Comp}i.aoce, OI121f2013                                        APP400
Case 2:20-cv-09465-JAK-JPR Document 1-1 Filed 10/15/20 Page 34 of 60 Page ID #:39




                  EX IBIT B
                   Case 2:20-cv-09465-JAK-JPR Document 1-1 Filed 10/15/20 Page 35 of 60 Page ID #:40
Elgctronically FjILED by Superior Court of Califomia, County of Los Angeles on 08/27/20ftq$0M-)%*rri R. Carter, Executive Officer/Clerk of Court, by R. Clifton,Deputy Clprk-_01 O
           ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Barnumber, and address):                                                         FOR COURT USE ONLY

             Jarrod Y. Nakano (State Bar No. 235548)
             4 Park Plaza, Suite 1025
             Irvine, CA 92614
                  TELEPHONE No.: 949-544-2640                          FAx No•: 949-336-7612
                                    1
           ATTORNEY FOR (Name): Jamll GeOT e Rabadl
          SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los               Angeles
                STREETADDRESS: 111 N 11111 St.
                MAILING ADDRESS:
               CITY AND ZIP CODE: LOs Anj:T,eleS,      CA 90012
                   BRANCH NAME: Stanley MOsk Courthouse
            CASE NAME:
            Jamil George Rabadi v. Shell oint Mortgage Servicing, LLC
                                                                                                                           CASE NUMBER:
             CIVIL CASE COVER SHEET                                        Complex Case Designation
          0✓Unlimited       ~ Limited                                                                                       ~ ~~T ~~ ~ ~ ~$ ~
                                                                      ~ Counter               ~ Joinder
              (Amount           (Amount                                                                                     JUDGE:
              demanded          dbmanded'is                           Filed with first appearance by defendant
              exceeds $25,000)  $25,000 or less)                          (Cal. Rules of Court, rule 3.402)                  DEPT:

                                                 Qems f—o UBtUW I7tuSe UC curit/llE'.lCu (SeC 1I'IJuucuvrlJ Ur1 (JQyC c).

          1. Check one box below for the case type that best describes this case:
             Auto Tort                                     Contract                                                Provisionally Complex Civil Litigation
                                                           0 Breach of contract/warranty (06)                      (Cal. Rules of Court, rules 3.400-3.403)
             0 Auto (22)
             0 Uninsured motorist (46)                     0 Rule 3.740 collections (09)                           0 Antitrust/Trade regu[ation (03)
             Other PI/PD/WD (Personal Injury/Property      0 Other collections (09)                                0 Construction defect (10)
             Damage/Wrongful Death) Tort                   0 Insurance coverage (18)                                   Mass tort (40)
             ~ Asbestos (04)                               0 Other contract (37)                                        Securities litigation (28)
             ~ Product liability (24)                      Real Property                                           0 Environmental/Toxic tort (30)
             0 Medical malpractice (45)                    Q Eminent domain/Inverse                                0 Insurance coverage c[aims arising from the
             0 Other PI/PD/WD (23)                               condemnation (14)                                       above listed provisionally comp[ex case
                                                                                                                         types (41)
              Non-PI/PD/IND (Other) Tort                   0 Wrongful eviction (33)
                                                                                                                   Enforcement of Judgment
             0 Business tort/unfair business practice (07) EE Other real property (26)
              0 Civil rights (08)                                   Unlawful Detainer                              0 Enforcement of judgment (20)
              0 Defamation (13)                                     ~ Commercial (31)                              Miscellaneous Civil Complaint
              0 Fraud (16)                                          0 Residential (32)                             0 RICO (27)
              0 Intellectual property (19)                                Drugs (38)                               0 Other comp[aint (not speciried above) (42)
              Q Professional negligence (25)                        Judicial Review                                Miscellaneous Civil Petition
              ~ Other non-PI/PD/WD tort (35)                        0 Asset forPeiture (05)                             Partnership and corporate governance (21)
              Employment                                            0 Petition re: arbitration award (11)               Other petition (not specified above) (43)
              ~ Wrongful termination (36)                           0 Writ of mandate (02)
              0 Other emp[oyment (15)                               0 Other judicial review (39)
          2. This case I_] is       1✓1 is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
             factors requiring exceptional judicial management:
               a. 0 Large number of separately represented parties             d. 0 Large number of witnesses
               b. 0 Extensive  motion    practice  raising difficult or novel e.  0 Coordination with related actions pending in one or more courts
                       issues that will be time-consuming to resolve                  in other counties, states, or countries, or in a federal court
               c.      Substantiai amount    of documentary   evidence         f. 0 Substantial postjudgment judicial supervision

                                                       ✓ monetary b. ~✓nonmonetary; declaratory or injunctive relief c. ~✓punitive
          3. Remedies sought (check all that apply): a.0
          4. Number of causes Of actlon (SpeClfy): Violation of HBOR, Violation of the Rosenthal Fair Debt Collection Act, Violation of the Fair Debt Collection Act, Unfair
          5. This case = is✓0 is not a class actlon suit.
          6. If there are any known related cases, file and serve a notice of related case. Nou may use_form CM-095.)
          Date: August 27, 2020
          Jarrod Y. Nakano
                                            OR PRINT                                                                         OF PARTY OR ATTORNEY FOR


            • Plaintiff must file this cover sheet with the first paper filed in the action dr proceeding (except small claims cases or cases filed
              under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
              in sanctions.
            • File this cover sheet in addition to any cover sheet required by local court rule.
            • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
              other parties to the action or proceeding.
            • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes onl~r.
                                                                                                                                                                               aue . of 2
          Fonn Adopted for Mandatory Use                                                                                       Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
            Judicial Council of Califomia
                                                                    CIVIL CASE COVER SHEET                                             Cal. Standards of Judicial Administration, sld. 3.10
            CM-010 [Rev. July 1, 2007]                                                                                                                              www.courtinfo.ca.gov
         Case 2:20-cv-09465-JAK-JPR Document 1-1 Filed 10/15/20 Page 36 of 60 Page ID #:41
                                                                                                                                    CM-010
                                INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A"collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-senrice requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                       CASE TYPES AND FJCAMPLES
Auto Tort                                        Contract                                          Provisional[y Complex Civil Litigation (Cal.
     Auto (22)—Personal Injury/Property              Breach of Contract/Warranty (06)              Rules of Court Ru[es 3.400-3.403)
          Damage/Wrongful Death                          Breach of Rental/Lease                         AntitrustlTrade Regulation (03)
     Uninsured Motorist (46) (if the                          Contract (not unlawful detainer           Construction Defect (10)
          case involves an uninsured                              or wrongful eviction)                 Claims Involving Mass Tort (40)
          motorist claim subject to                       Contract/Warranty Breach—Seller               Securities Litigation (28) ,
          arbitration, check this item                        Plaintiff (not fraud or negligence)       Environmental/Toxic Tort (30)
          instead ofAuto)                                 Negligent Breach of Contract/                 Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                              Wan-anty                                      (arising from provisionally comptex
Property Damage/Wrongfu[ Death)                           Other Breach of Contract/Warranty                  case type listed above) (41)
Tort                                                 Collections (e.g., money owed, open            Enforcement of Judgment
     Asbestos (04)                                        book accounts) (09)                           Enforcement of Judgment (20)
          Asbestos Property Damage                        Collection  Case—Seller   Plaintiff                Abstract of Judgment (Out of
                                                          Other Promissory Note/Collections                        County)
          Asbestos Personal Injury/
                Wrongful Death                                Case                                           Confession of Judgment (non-
     Product Liability (not asbestos or              Insurance Coverage (not provisiona/ly                         domestic relations)
          toxic%nvironmental) (24)                        complex) (18)                                      Sister State Judgment
     Medical Malpractice (45)                             Auto Subrogation                                   Administrative Agency Award
          Medical Malpractice—                            Other Coverage                                         (not unpaid taxes)
                Physicians & Surgeons                Other Contract (37)                                     Petition/Certification of Entry of
          Other Professional Health Care                  Contractual Fraud                                      Judgment on Unpaid Taxes
                Malpractice                               Other Contract Dispute                             Other Enforcement of Judgment
                                                 Real Property                                                     Case
     Other PI/PD/WD (23)
          Premises Liabi[ity (e.g., s[ip             Eminent Domain/Inverse                         Miscellaneous Civil Comp[aint
                and fall)                                 Condemnation (14)                             RICO (27)
          Intentional Bodily Injury/PD/WD            Wrongful   Eviction  (33)                           Other Complaint (not specified
                                                                                                             above) (42)
                 e. assau[t, vandalism               Other  Real  Pro   ert   e.    uiet title 26
                ( g" Infliction of
          Intentional                    )                            p y( g" q               )( )           Declaratory Relief Only
                                                          Writ of Possession of Real Property                Injunctive Relief Only (non-
                Emotional Distress                        Mortgage Foreclosure                                     harassment)
          Negligent Infliction of                         Quiet Title
                Emotional Distress                                                                           Mechanics    Lien
                                                          Other Real Property (not eminent
          Other PI/PD/WD                                                                                     Other Commercial Complaint
                                                          domain, land/ord/tenant, or
                                                          forec/osure)                                             Case (non-torf/non-complex)
Non-PI/PD/WD (Other) Tort                                                                                    O ther Civil Complaint
     Business Tort/Unfair Business               Unlawful   Detainer                                              (non-tort/non-complex)
        Practice.(07)                                Commercial (31)                                Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination,             Residential (32)                                   Partnership and Corporate
         false arrest) (not civil                    Drugs (38) (if the case involves illegal                Governance (21)
          harassment) (08)                                drugs, check this item; otherwise,             Other Petition (not specified
     Defamation (e.g., s[ander, libel)                    report as Commercial or Residential)               above) (43)
           (13)                                  Judicial Review                                             Civil Harassment
     Fraud (16)                                      Asset Forfeiture (05)                                   Workplace Violence
     Intel[ectual Property (19)                      Petition Re: Arbitration Award (11)                     Elder/Dependent Adult
     Professional Negligence (25)                    Writ of Mandate (02)                                          Abuse
         Legal Malpractice                                Writ—Administrative Mandamus                       Election Contest
         Other Professional Malpractice                   Writ—Mandamus on Limited Court                     Petition for Name Change
              (not medical or legal)                          Case Matter                                    Petition for Relief From Late
      Other Non-PI/PD/WD Tort (35)                        Writ—Other Limited Court Case                            Claim
Employment                                                    Review                                         Other Civil Petition
     Wrongful Termination (36)                       Other Judicial Review (39) .
     Other Employment (15)                                Review of Health Officer Order
                                                          Notice of Appeal—Labor
                                                             Commissioner Appeals
CM-010 [Rev. July 1, 20071                                                                                                     ,      Paga 2 af 2
                                                   CIVIL CASE COVER SHEET
            Case 2:20-cv-09465-JAK-JPR Document 1-1 Filed 10/15/20 Page 37 of 60 Page ID #:42


 sHORTTiTLE: Jamil George Rabadi v. Shellpoint oOrtgage Servicing, LLC                                 CASE NUMBER




                              CIVIL CASE COVER SHEET ADDENDUM AND
                                      STATEMENT OF LOCATION
                (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

               This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.




      Step 1: After completing the Civil Case Cover Sheet (Judicial Co'uncil form CM-010), find the exact case type in
               Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.

      Step 2: In Column B, check the box for the type of action that best describes the nature of the case.

     Step 3: In Column C, circle the number which explains the reason for the court filing location you have
               chosen.
                                            Applicable Reasons for Choosing Court Filing Location (Column C)

1.Class actions must be filed in the Stanley Mosk Courthouse, Central District.        7. Location where petitioner resides.
2. Permissive filing in central district.                                              8. Location wherein defendant/respondent functions wholly.
3.Location where cause of action arose.                                                9.Location where one or more of the parties reside.
4. Mandatory personal injury filing in North District.                               10.Location of Labor Commissioner Office.
                                                                                     11.Mandatory filing location (Hub Cases — unlawful detainer, limited
5.Location where performance required or defendant resides.
                                                                                     non-collection, limited collection, or personal injury).
6.Location of property or permanently garaged vehicle.




                                 A                                                          B'                                                       C.,
                     Civil Case Cover Sheet                                           Type of Action                                    ° Applicable Reasons -
                           Category No. •                                            (Check only one)                                      See Step 3 Above ,

                             Auto (22)              ❑ A7100 Motor Vehicle - Personal Injury/Property DamageNVrongful Death               1, 4, 11
    0
   Q 12              Uninsured Motorist (46)        ❑ A7110 Personal Injury/Property Damage/Wrongful Death — Uninsured Motorist          1, 4, 11


                                                    ❑• A6070 Asbestos Property Damage                                                    1, 11
                          Asbestos(04)
                                                    ❑ A7221 Asbestos - Personallnjury/WrongfulDeath                                      1, 11

                       Product Liability (24)       ❑ A7260 Product Liability (not asbestos or toxic/environmental)                      1, 4, 11

                                                    ❑ A7210 Medical Malpractice - Physicians & Surgeons                                  1, 4, 11
                    Medical Malpractice (45)
                                                    ❑ A7240 Other Professional Health Care Malpractice                                   1, 4, 11

                                                    ❑ A7250 Premises Liability (e.g., slip and fall)
                         Other Personal                                                                                                  1, 4, 11
                         Injury Property            b A7230 Intentional Bodily Injury/Properry Damage/Wrongful Death (e.g.,              1, 4,• 11
                        Damage Wrongful                     assault, vandalism, etc.)
                           Death (23)               ❑ A7270 Intentional Infliction of Emotional Distress                                 1, 4, 11

                                                    ❑ A7220 OtherPersonallnjury/PropertyDamage/WrongfulDeath                             1,4, 11




   LASC CIV 109 Rev.12/18                         CIVIL CASE COVER SHEET ADDENDUM                                                     Local Rule 2.3
   1 orMandatoryuse                                  AND STATEMENT OF• LOCATION                                                         Page 1 ofi4
           Case 2:20-cv-09465-JAK-JPR Document 1-1 Filed 10/15/20 Page 38 of 60 Page ID #:43


sHORTTiTLE: Jamil George Rabadi v. Shellpoint oOrtgage Servicing, LLC                         CASE NUMBER


                           A                                                         B                                               C Applicable
                Civil Case Cover Sheet                                          Type of Action                                    Reasons - See Step 3
                      Category No.                                             (Check only one)                                         Above

                  Business Tort (07)         p A6029 Other Commercial/Business Tort (not fraud/breach of contract)                1, 2, 3
 .t~ V_o
                     Civil Rights (08)       ❑ A6005 Civil Rights/Discrimination                                                  1, 2, 3
  a~
  o   w
 a d                 Defamation (13)         ❑ A6010 Defamation (slanderHibel)                                                    1, 2, 3

  c =                  Fraud (16)            ❑   A6013 Fraud (no contract)                                                        1, 2, 3
  ee o
  o                                          ❑ A6017 Legal Malpractice                                                            1, 2, 3
   `m °f     Professional Negligence (25)
  a tm                                       ❑   A6050 Other Professional Malpractice (not medical or legal)                      1, 2, 3
  co Ecv
  zo
                        Other (35)           ❑   A6025 Other Non-Personal Injury/Property Damage tort                             1, 2, 3


    c         Wrongful Terrnination (36)     ❑   A6037 Wrongful Termination                                                       1, 2, 3
    a>
    E
    ~                                        ❑   A6024 Other Employment Complaint Case                                            1, 2, 3
    0
    c           Other Employment (15)
    E                                        ❑   A6109 Labor Commissioner Appeals                                                 10
    w

                                             ❑   A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful
                                                                                                                                  2,5
                                                       eviction)
             Breach of Contract/ Warranty                                                                                         2.5
                         (06)                ❑   A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence)
                   (not insurance)                                                                                                1, 2, 5
                                             ❑   A6019 Negligent Breach of Contract/Warranty (no fraud)
                                                                                                                                  1, 2, 5
                                             ❑   A6028 Other Breach of ContractMlarranty (not fraud or negligence)

                                             ❑   A6002 Collections Case-Seller Plaintiff                                          5, 6,. 11
                     Collections (09)
                                             ❑   A6012 Other Promissory Note/Collections Case                                     5,11
                                             ❑   A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                 5, 6, 11
                                                       Purchased on or after January 1 2014

               Insurance Coverage (18)       ❑   A6015 Insurance Coverage (not complex)                                           1, 2, 5, 8

                                             ❑   A6009 Contractual Fraud                                                          1, 2, 3, 5
                  Other Contract (37)        ❑   A6031 Tortious Interference                                                      1, 2, 3, 5
                                             ❑   A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)              1, 2, 3, 8, 9

               Eminent Domain/Inverse        ❑   A7300 Eminent Domain/Condemnation                Number of parcels               2,6
                 Condemnation (14)
    t~
                Wrongful Eviction (33)       ❑   A6023 Wrongful Eviction Case                                                     2,6

                                             O A6018 Mortgage Foreclosure                                                         2,6
               Other Real Property (26)      ❑   A6032 Quiet Title                                                                2,6
                                             ❑   A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)     2,6

             Unlawful Detainer-Commercial    ❑   A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)              6,11
                          (31)
             Unlawful Detainer-Residential
                                             ❑   A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)             6,11
                            32
                 UnlawFul Detainer-
                                             ❑   A6020FUnlawful Detainer-Post-Foreclosure                                         2, 6,• 11
                Post-Foreclosure 34

             Unlawful Detainer-Drugs (38)    ❑   A6022 Unlawful Detainer-Drugs                                                    2, 6, 11



                                             CIVIL CASE COVER SHEET ADDENDUM                                                    Local Rule 2.3
 LASC CIV 109 Rev. 12/18
                                                AND STATEMENT OF LOCATION                                                         Page 2 of 4
 For Mandatory Use
              Case 2:20-cv-09465-JAK-JPR Document 1-1 Filed 10/15/20 Page 39 of 60 Page ID #:44


SHORTTITLE: Jamil George Rabadi v. Shellpoint oOrtgage Servicing, LLC                              CASE NUMBER




                              A                                                           B                                  C Applicable
                   Civil Case Cover Sheet                                            Type of Action                       Reasons - See Step 3
                         Category No.                                               (Check only one)                            Above

                     Asset ForPeiture (05)         ❑   A6108 Asset Forfeiture Case                                        2, 3, 6

                  Petition re Arbitration (11)     ❑   A6115 Petition to Compel/Confirm/VacateArbitration                 2,5
      3
    a~
   .~
    ~                                             ❑    A6151 Writ - Administrative Mandamus                               2,8
   io
   .~                Writ of Mandate (02)          ❑   A6152 Writ - Mandamus on Limited Court Case Matter                 2
    v
    ~                                              ❑   A6153 Writ - Other Limited Court Case Review                       2
   ~

                  Other Judicial Review (39)       ❑   A6150 Other Writ /Judicial Review                                  2,8


                Antitrust/Trade Regulation (03)    ❑   A6003 Antitrust/Trade Regulation                                   1, 2, 8


                   Construction Defect (10)        ❑   A6007 Construction Defect                                          1, 2, 3

                  Claims Involving Mass Tort
                                                   ❑   A6006 Claims Involving Mass Tort                                   1, 2, 8
                             (40)

                   Securifies Litigation (28)     ❑    A6035 Securities Litigation Case                                   1, 2, 8

                          ToxicTort
                                                   ❑   A6036 ToxicTort/Environmental                                      1, 2, 3, 8
                      Environmental (30)

                 Insurance Coverage Claims
    a                                              ❑   A6014 Insurance Coverage/Subrogation (complex case only)           1, 2, 5, 8
                   from ComplexCase (41)

                                                   ❑   A6141 Sister State Judgment                                        2, 5, 11
                                                   ❑   A6160 Abstract of Judgment                                         2,6

                         Enforcement               ❑   A6107 Confession of Judgment (non-domestic relations)              2,9
                       of Judgment (20)           ❑    A6140 Administrative Agency Award (not unpaid taxes)               2,8
                                                   ❑   A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax     2,8
                                                   ❑   A6112 Other Enforcement of Judgment Case                           2, 8, 9


                          RICO (27)               ❑    A6033 Racketeering (RICO) Case                                     1, 2, 8
          y
  7 =
  O m
  aD Q                                            ❑    A6030 Declaratory Relief Only                                      1, 2, 8
  A E                  Other Complaints           ❑    A6040 Injunctive Relief Only (not domestic/harassment)             2,8
  a~ o
  ~
  H =
     V            (Not Specified Above) (42)       ❑   A6011 Other Commercial Complaint Case (non-tort/non-complex)       1, 2, 8
  ~   U
                                                  ❑    A6000 Other Civil Complaint (non-tort/non-complex)                 1, 2, 8

                   Partnership Corporation
                                                  ❑    A6113 Partnership and Corporate Governance Case                    2,8
                      Govemance (21)

                                                  ❑    A6121 Civil Harassment With Damages                                2, 3; 9
                                                  ❑, A6123 Workplace Harassment With Damages                              2, 3, 9
                                                  ❑    A6124 Elder/Dependent Adult Abuse Case With Damages                2, 3, 9
                     Other Petitions (Not
                    Specified Above) (43)         ❑    A6190 Election Contest                                             2

  _AKA~                                           ❑    A6110 Petition for Change of Name/Change of Gender                 2,7
                                                  ❑    A6170 Petition for Relief from Late Claim Law                      238
                                                  ❑    A6100 Other Civil Petition                                         2, 9




                                                  CIVIL CASE COVER SHEET ADDENDUM                                       Local Rule 2.3
 LASC CIV 109 Rev. 12/18
                                                     AND STATEMENT OF LOCATION                                            Page 3 of 4
 For Mandatory Use                                                                                                                       I
           Case 2:20-cv-09465-JAK-JPR Document 1-1 Filed 10/15/20 Page 40 of 60 Page ID #:45


 sHORTTiTLE: Jamil George Rabadi v. Shellpoint oOrtgage Servicing , LLC            CASE NUMBER




Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
           type of action that you have selected. Enter the address which is the b6sis for the filing location, including zip code.
           (No address required for class action cases).

                                                                  ADDRESS:
   REASON:                                                                              31761 Paseo Bonito
    01.02.03.114.05.06.07. 08.0 9.010.011.



   CITY:                                 STATE:      ZIP CODE:

   Castaic                               CA         91384

Step 5: Certification of Assignment: I certify that this case is properly filed in the Stanley Mosk                    District of
           the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].




  Dated: August 27, 2020
                                                                               (SIGNATURE OF ATTORNEY/FILING PARTY)




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:

       1. Original Complaint or Petition.
                                                                   ~                                                  r
       2. If filing a Complaint, a completed Summons form for issuance by the Clerk.

       3. Civil Case Cover Sheet, Judicial Council form CM-010.

       4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04,(Rev.
          02/16).

       5. Payment in full of the filing fee, unless there is court orderforwaiver, parfial or scheduled payments.

       6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintifF or petitioner is a
          minor under 18 years of age will be required by Court in order to issue a summons.

       7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
          must be served along with the summons and complaint, or other initiating pleading in the case.




                                        CIVIL CASE COVER SHEET ADDENDUM                                             Local Rule 2.3
  LASC CIV 109 Rev. 12/18
                                           AND STATEMENT OF LOCATION                                                  Page 4 of 4
  For Mandatory Use
 Case 2:20-cv-09465-JAK-JPR Document 1-1 Filed 10/15/20 Page 41 of 60 Page ID #:46

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 5
                             SUPERIOR COURT OF THE STATE OF CALIFORNIA
 6
                                     FOR THE COUNTY OF LOS ANGELES
 7

 8     IIN RE LOS ANGELES 'SUPERIOR COURT ) FIRST AIv1ENDED GENERAL ORDER
       — MANDATORY ELECTRONIC FILING )
 9     FOR CIVIL                          )
                                         }
10                                    .  )
                                                     }
11
12            On December 3, 2018, the Los Angeles County Superior Court mandated electronic filing of all
13     documents in Limited Civil cases by Iitigants represented by attorneys. On January 2, 2019. the Los
14     Angeles County Superior Court mandated electronic filing of all documents filed in Non-Complex
15     Unlinuted Civil cases by litigants represented by attorneys. (California Rules of Court, rule 2.253(b).)
16     All electronically filed documents in Limited and Non-Complex Unlimited cases are subject to the
17     following:
18     1) DEFINITIONS
19 I      a) "Bookrrtark" A bookmark is a PDF document navigational tool that allows the reader to
20            quickly locate and navigate to a designated point of interest within a document.
21        b) "Efiling Partal" The official court website includes a webpage, referred to as the efiling
22            portal, that gives litigants access to the approved Electronic Filing Service Providers.
23        c) `Electronic Envelope" A transaction through the electronic service provider for submfssion
24            of documents to the Court for processing which may contain one or more PDF documents
25            attached.
26        d) `Electronic FIling" Electronic Filing (eFiling) is the electronic transmission to a Court of a
27            document in electronic form. (California Rules,of Court, rule 2.250(b)(7).)
28

                                                             t
                          FIRS"r AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FtLiNG FOR CIYIL
 Case 2:20-cv-09465-JAK-JPR Document 1-1 Filed 10/15/20 Page 42 of 60 Page ID #:47

                                                                                             2019-GEN-014•00


1     e) 19Eiectronic Filing Service Provider" An Electronic Filing Service Provider (EFSP) is a
2        person or entity that receives an electmnic filing from a party for,retransmission to the Court.
3        In the submission of filings, the EFSP does so on behalf of the electronic filer and not as an
4        agent of the Court. (Califomia Rules of Court, rule 2.250(b)(8).)
5     f) "Electronic Signature" For purposes of these local rules and in conformity with Code of
6        Civil Procedure section 17, subdivision (b)(3), section 34, and section 1010.6, subdivision
7        (b)(2), Government Code section 68150, subdivision (g), and California Rules of Court, rule
8        2.257, the term "Electronic Signature" is generally defined as an electronic sound, symbol, or
9        process attached to or logically associated with an electronic record and executed or adopted
10       by a person with the intent to sign the electronic record.
11    g) "Hyperlink" An electronic link providing direct access from one distinctively marked place
12       in a hypertext or hypermedia document to another in the same or different document.
13    h) "Portable Document Format" A digital document format that preserves all fonts,
14       formatting, colors and graphics of the original source document, regardless of the application
15       platfottn used.
16 2) MANDATORY ELECTRONIC FILING
17    a) Trial Court Records
l8       Pursuant to Government Code section 68150, trial court records may be created, maintained,
19       and preserved in electronic format. Any document that the Court receives electronically must
20       be clerically processed and must satisfy all legal f ling requirements in order to be filed as an
21       official court record (California Rules of Court, rules 2.100, et seq. and 2.253(b)(6)).
22    b) Represented Litigants
23       Pursuant to California Rules of Court, rule 2.253(b), represented litigants are required to
24       electronically file documents with the Court through an approved EFSP.
25    c) Public Notice     '
26       The Court has issued a Public Notice with effective dates the Court required parties to
27       electronically file documents through one or more approved EFSPs. Public Notices containing
28       effective dates and the list of EFSPs are available on the Court's website, at www.lacourt.orQ.

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                    FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FiL[NG FOR CIV1L
 Case 2:20-cv-09465-JAK-JPR Document 1-1 Filed 10/15/20 Page 43 of 60 Page ID #:48

                                                                                                      2019-GE[V-014-00



 1              d) Documents in Related Cases
 2                 Documents in related cases must be electronically filed in the eFiling portal for that case type if
 3                 electroriic filing has been implemented in that case type. regardless of whether the case has
 4                 been related to a Civil case.
 5 1 3) EXEMPT LPTIGANTS

 6              a) Pursuant to Califonua Rules of Court, rule 2.253(b)(2), self-represented litigants are exempt
       ~
 7                 from mandatory electronic filing requirements. .
 8              b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (d)(3) and California Rules of
 9                 Court, rule 2.253(b)(4), any party may make application to the Court requesting to be excused
10                 from filing documents electronically and be permitted to file documents by conventional
11                 means if the party shows undue hardship or significant prejudice.
12, 4) E3CEMPT FILINGS

13 '            a) The following documents shall not be filed electronically:
14                 i) Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code of
15                       Civil Procedure' sections 170.6 or 170.3;
16                 ii) BondsJUndertaking documents;
17 I               iii) Trial and Evidentiary Hearing Exhibits
18                 iv) Any ex parte application that is filed concurrently with a new complaint including those
19                       that will be handled by a Writs and Receivers department in the Mosk courthouse; and
20                 v) Documents submitted conditionally under seal. The actual motion or application shall be
21                       electronically f led. A courtesy copy of the electronically filed motion or application to
22                       submit documents conditionally under seal must be provided with the documents
23                       subnutted conditionally under seal.
24              b) Lodgments
25                 Documents attached to a Notice of Lodgment shall be lodged and/or served conventionally in
26         paper form. The actual document entitled, "1Votice of Lodgment," shall be filed electronically.
27         //

28 I1 #

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                              FIRST AMEtVDRt) GENHRAL ORDER RE MAfVDATORY Et.ECIRONIC FILING FOR C1VIL
 Case 2:20-cv-09465-JAK-JPR Document 1-1 Filed 10/15/20 Page 44 of 60 Page ID #:49

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1      5) ELECTRONIC FILIIVG SYSTEM WORKING PROCEDURES
                           ,


2            Electronic fiiing service providers must obtain and manage registration information for persons
3            and entities electronically filing with the court.
4     1 6)   TECIiNICAL REQUIREMENTS
5            a) Electronic documents must be electronically filed in PDF, text searchable format when
6                technologically feasible without impairment of the document's image.
7,           b) The table of contents for any filing must be bookmarked.
81           c) Electronic documents, including but not limited to, declarations, proofs of service, and
9               exhibits, must be bookmarked within the document pursuant to California Rules of Court, rule
10               3.1110(f)(4). Electronic bookmarks must include links to the first page of each bookmarked
11               item (e.g. exhibits, declarations, deposition excerpts) and with bookmark titles that identify the
12               bookedmarked item and briefly describe the item.
13           d) Attachments to primary documents must be bookmarked. Examples include, but are not
14               limited   to,   the following:
15'              i)    Depositions;
16               ii)   Declarations;
17               iii) Exhibits (including exhibits to declarations);
18'              iv) Transcripts (including excerpts within transcripts);
19               v)    Points and Authorities;
20               vi) Citations; and               ;
21               vii) Supporting Briefs.
22           e) Use of hyperlinks within documents (including attachments and exhibits) is strongly
23               encouraged.
24           f) Accompanying Documents
25               Each document acompanying a single pleading must be electronically filed as a separate
26               digital PDF document.
27           g) Multiple Documents
28               Multiple documents relating          to   one ease can be uploaded in one envelope transaction.
                                                                         4
                               FIRST AMENDED GEIVERAL ORDER RE MAIVDATORY ELECIROTVIC FILnVG FOR GIVIL
 Case 2:20-cv-09465-JAK-JPR Document 1-1 Filed 10/15/20 Page 45 of 60 Page ID #:50


                                                                                                   2019-GEN-014-00



 1        h) Writs and Abstracts
 2           Writs and Abstracts must be submitted as a separate electronic envelope.
 3        i) Sealed Documents
 4           If and when a judicial officer orders documents to be fiTed under seal, those documents must be
 5           filed electronically (unless exempted under paragraph 4); the burden of accurately designating
 6           the documents as 'sealed at the time of electronic submission is the submitting party's
 7           responsibility.
 8        j) Redaction
 9           Pursuant to California Rules of Court, rule 1.201, it is the submittbng party's responsibility to
10           redact confdential information (such as using initials for names of Ininors, usiag the last four
11           digits of a social security number, and using the year for date of birth) so that the information
12           shalt not be publicly displayed.
13      7) ELECTRONIC FILING SCHEDULE
14        a) Filed Date
15           i) Any document received electronically by the court between 12:00 am and 11:59:59 pcn
16               shall be deemed to have been effectively filed on that court day if accepted for filing. Any
17               document received electronicaily on a non-court day, is deemed to have been effectively
18               flled on the next court day if accepted. (California Rules of Court, rule 2.253(b)(6); Code
19               Civ. Proc. § 1010.6(b)(3).)
20           ii) Notwithstanding any other provision of this order, if a digital document is not filed in due
21 I!            course because of: (1) an interruption in service; (2) a transmission error that is not the
22               fault of the transmitter, or (3) a processing failure that occurs after receipt, ,the Court may
23               order, either on its own motion or by noticed motion submitted with a declaration for Court
24 I             consideration, that the document be deemed filed and/or that the document's filing date
25 '             conform to the attempted transmission date.
26 ' 18) EX PAR'I'E APPLICATIONS
27        a) Ex parte applications and all documents in support thereof must be electronically filed no later
28           than 10:00 a m. the court day before the ex parte hearing.

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                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECPRONIC FILING FOR CIV IL
 Case 2:20-cv-09465-JAK-JPR Document 1-1 Filed 10/15/20 Page 46 of 60 Page ID #:51

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1      b) Any written opposition to an ex parte application must be electronically filed by 8:30 a.m. the
2         day of the ex parte hearing. A printed courtesy copy of any opposition to an ex parte
3         application must be provided to the court the day of the ex parte hearing.
4 9) PRINTED COURTESY COPIES
5      a) For any filing electronically filed two or fewer days before the hearing, a courtesy copy must
 6        be delivered to the courtroom by 4:30 p.m. the same business day the document is efiled. If
7         the e6ling is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom
8         by 10:00 a.m. the'next business day.
9      b) Regardless of the time of electronic filing, a printed courtesy copy (along with proof of
10        electronic subn-ission) is required for the following documents:
11         i) Any printed document required pursuant to a Standing or General Order;
12        ii) , Pleadings and motions (including attachments such as declarations and eichibits) of 26
13              pages or more;
14       iii)   Pleadings and motions that include points and authorities;
15        iv) Demurrers;
16        v) Anti-SLAPP filings, pursuant to Code of Civil Procedure section 425.16;
17        vi) Motions for Summary Judgment/Adjudication; and
18       vii) Motions to Compel Further Discovery.
19     c) Nothing in this General Order precludes a Judicial Officer from requesting a courtesy copy of
20         additional documents. Courtroom specific courtesy copy guidelines can be found at
21         www.lacourl.ors on the Civil webpage under "Courtroom Information."
22   0) WAIVER OF FEES AND COSTS FOR ELECTRONICALLY FILED DOCUIVIENTS
23     a) Fees and costs associated with electronic filing must be waived for any litigant who has
24         received a fee waiver. (California Rules of Court, rules 2.253,(b)0, 2.258(b), Code Civ. Proc. §
25         1010.6(d)(2).)
26     b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure
27         section 1010.6, subdivision (b)(6), and Califomia Rules of Court, rule 2.252(f), may be
28         electronically filed in any authorized action or proceeding.

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                     FIRST AMENDED GEIVERAL ORDER RE MAMDA'PORY ELEC'I7tO1VIC FIUNG FOR CIVIL
 Case 2:20-cv-09465-JAK-JPR Document 1-1 Filed 10/15/20 Page 47 of 60 Page ID #:52

                                                                                              2019-GEN-014-00



1    l 1) SIGNATURE3 ON EI.ECTRONIC FILING
2       For purposes of this General0rder, all electronic filings must be in compliance with California
3       Rules of Court, rule 2.257. This General Order applies to documents filed within the Civil
4       Division of the Los Angeles County Superior Court.
5
6           This First Amended General Order supersedes any previous order related to electronic filing,
7    and is effective immediately, and is to remain in effect until otherwise ordered by the 6vil
8    Supervising Judge and/or Presiding Judge.
9
10   I DATED: May 3, 2019                                                c
11                                                       KEVIN C. BRAZILE
                                                         Presiding Judge
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                      FIRST AMENDED GENERAL ORDER RE MANDA'[URY EL£CTRONiC FILING FOR CIViL
Case 2:20-cv-09465-JAK-JPR Document 1-1 Filed 10/15/20 Page 48 of 60 Page ID #:53




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                                  'The Eariy Crganizational Me®ting Stipulation, Discovergo
                               R®solution Stipulation, and Motions in Llmine Sdiputation, are
     supedwcowtorcawwnu voluntary stipulations enterad into by the parties. The parties
     QenrHp of Lon Amiplui
                         rnay enter Into one, two, or all three of ttie sfipufations;
             ~           howeeer, they may not al@er the stjpea0ations as vvritten,
                         because itne Court wants to ensuae uniformity of appllaatlon.
     I.o.Anyo~. cou~hr
                         Yhese sdpulations are meant to encourage cooperatiore
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        eesotuQ6on ®f the issues.

        'f'h$ parties,agree tllaat:

         Y. Prior to the discovery csrt-otf 6n ttiis action. no discovery motion shall be filed or heard untess
            tttie moving party first makes a ouritten request for an tnforrnal Discovery Conference pursuant
            to the teams of lhis st4paalatlon.

        2. At the Informal t?iscovery Conference tha Court will consider lhe dispute presented by pardies
           and determane whettter It can be resofved informaily. Nottaing set forih hereln dviit preclude a
           party from making a record at ft cortduston of an lnforrnal ©iscovery Conference, either
           oraly or In writing.

        3. t=oltowlrg a reasonable and good faitte atterrapt al an Infermat r®soiution of each Issue to be
           presented, a party rnay request an lnforanal t?iscovery Conference pursuant to the follovving
           procedures:

                  a. The party requesting the tnforrnaG fliscovery ConSerence dvili:

                     i. Flt® aRequest for lnforrnat Q3iscovery Conference with the clerk's oh'ice on the
                          approved for,vo (copy attached) and deNver a courtesy, conforrsaed copy to lhe
                          assigned departanent;

                    11.     lnciude a briief su=nmaay of the dispute and specify the reisef requested; and

                    ili. 8erve the opposing pariy pursuant to any autteorized or agreed rnathoaT of sarvice
                           that ensures that the opposing party receives the Realuest F'or Informal ®Iscovery
                           Conference rao tater than the next court day follovring the t'siing.

                  b. Any Answ®r to a Request for Inforrnal ©iscovery Conference musl:

                     I.     Also be flted on the approved forrn (copy attached);

                     H.     Inciude a bri®f sumrnary of why the requested reiief shoutd be denied;

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Case 2:20-cv-09465-JAK-JPR Document 1-1 Filed 10/15/20 Page 50 of 60 Page ID #:55




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                    lil. 8e hled wlthln two (2) court days of r®ceipt of lhe Requesl; and
                    lv., 8e served on the opposing party pursuant to any authorizad or agreed upon
                           method of service lhat ensures that the opposing party receives the Ansvaer no
                           later then the neut court day fotlowing the filing.
           C. No other pleadings, including but nol Imlled to exhibits. dedaratlons, or attachments, wriil
                   be accepled.
           d. K the Court has not granted or denied the Request for Informal t?iscovery Conference
              enithin ten ('t0) days fatlovving the fi9ing of the Request, then it shall be deemeai to hsve
              been deMed. If tibe Couri acts on the Request. the parties voill be notilied whether ft
              Request for Informal ©facovery Conference has been granted or dgni®d and. If, granted,
              ihe date and dime of the Informal ®iscovery Conference. which enust ta® wdthin tuuenty (20)
              days of the Elfing of the Request for lnfoornal Discovery Conference.
           e. If the conference Is raot held vrithin twenty (20) days of the Yling of the Request for
              Inforenal Olscoveay Conference, unless extended by agreement of the pariies and the
              Cour[, then lhe Request for the lnfoPanat Discovery Conference shall lsa deemed lo have
              been denied at that tirne.
      4. If (a) the Court has denled a conference oer (b) one of the lfine deadlines above has explred
         v,Mhout ft Court havtng actec0 or (c) the 6nforrnal l7iscovery Cmnferenee Is concluded witt,out
         resulbing the dispute, then a party niay 6le a discovery motion to address unresolved issues.
      5. 'i'he pasties hereby further agree that lhe time for nnaisang a rnotion to cotnpel or olher
         discovea-y molion is lolled from the date of riling of the Request for Informal Cisco+n=ry
          t:onference unt9l (a) the request is denied or deemed denied or (b) twenty (20) days after the
          flging of , the Request for tnformal Oiscovery Conference, whichever ts easdier. unless extended
         by Order of the Couef.

           It is lhe understanding and lntent of the parties that this stipuiation shall, for each discovery
           dlspute lo which it applies, consbtute a vsriting inernoriaftzing a°specaric later dale to which
           the propounding [or demanding or reques(ing) party and the responding party hava agreed in
           writing; within the meaning of Code Civii Procedure secttons 2030.300(c), 2031.320(c), and
           2033.290(c).

      6. NotMng herein wilt predude any party from appiying ex parfe for appropriete relief. iaticluding
         an onier shortening ttnm for a motion to be heard conceming discover'r.

      7. Any party may tenninate thus stiputalion by giving twenty-one (21) days notice of intent to
         terrninate the stipulation.

      S. References to "days" mean calendar days, unless otherwise noted. If the date for performing
         any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the lime
         for perforrning that act sha60 be extended to the next Court day.



      UsCApgmv®d QA/if             S'g'OPUI..A'87ON — RISCt31lERY RE SOlLQ3T8ON
      For oplbna! 1he                                                                              Page 2 of 3
Case 2:20-cv-09465-JAK-JPR Document 1-1 Filed 10/15/20 Page 51 of 60 Page ID #:56




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Case 2:20-cv-09465-JAK-JPR Document 1-1 Filed 10/15/20 Page 52 of 60 Page ID #:57




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         the titDgation aoad to as.sPst the partie® Ire effici®nt case resotu4Fon.
         The parties agree that:
         1. The parties commit to conduct an (nitial conferance (in-person or via teteconference or vda
             vtdeoconfcrance) v►ithin 15 days from ttte date this stipufatJon is signed, to dtscuss and constder
             wheUDerlhera carp 6e agraemerr@ on the fotlowJrrg:
              a. Are rnotlans to ctealtenge tlze pteadings necessary? If the 3ssue can be resolved by
                 amendrnent as of d9h4 mr if the Cou(t vvould - altow teave to amend. coutd an arnended
                 complatnt resotde most or ati of the Issues a demurrer rnight otheru,ise raise? If so, the partim
                 agree to wodc ftough pleading issues so that a demurre<r need onty raise Issues they cannot
                 resmtve. Is the Issue teat the defendant see9cs to raise amerrable to resotutiori on dernurrer. or
                 wrould some other type of motion be pneferabie? Coutd a votuntary targeted exchange of
                 doaurteents or Infonrraation by any party cure an uncertafnty in the pleadings?
              b. Inittal mutual exchanges of documenfls at the 'core" of ft Ctigation. (For exampte, in an
                 empioyseaent case, the empbyment r+scords, personnel 8ite ard documenils retat6ng to the
                 conduce In questfon cautd be.considered "con:." In a personat injury case. an fncident or
                 police report, medicat records, and repair or rnaintenance recorais could be considered
                 'core. "):
              c. Exchange or names and contact Inforsnation af witnesses;
              d. Any insurance agreenaent that rnay be available to satisfy part or ail of a jurdgrutent, or to
                 Indernnify or rreintibutse for payments made to satisfy a judgmen@;
              e. t xolhange of any other infonnation tPaat mlght be helpful to facElitate asndenytanding, handUng,
                 or resotution of the dasa In a nranner 4hat presernes objections or prtvitegas tay agreemenh
              i ContrIDtlln® Issues of lavt► that, If resotvad early, vv619 proaveote efticierxy and eeonomy In other
                  phases of tfie case. Aiso. wherd and how such issues c-an be paesented to Ihe Court;
              g. Whether or when the case shouid be scheduted vuith a se{t6ernent officer, what discovery or
                 court ruling on legat Issues Is reasonsably requir®d to enaice set9tement discuss8ons rneaningfeal,
                 and whether the parites vAsh to use a sitt)ng judge or a psivate mediator or otiier opttons as

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Case 2:20-cv-09465-JAK-JPR Document 1-1 Filed 10/15/20 Page 53 of 60 Page ID #:58




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                  dascussed In the "Atternalibe Dlspute Resotudon (A®R) In(ormation Pactsage' served vr9th ttse
                  contplaint;

           h. Computation of dameges, including docuraients, not prhrUeged or prater.ted from disclasure, mn
                  vahlch such computetion is based;

           0. QMhether the case Is sultable for the Expedited Juey Tcial procedutes (see lnfortnatlon at
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      2.          1'he time for a defending party to respond to a complaint or cross-comptadnt vt+ig be extenc9ed
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                  comptaint, which is coreeprised of ttne 30 deys ta respond under Goveanment Code § 88816(b),
                  and 9he 30 days perrnitted by Code of Civll Proceduee sec4lon 1054(a). good cause havIng
                  been ,foand by4he Civil Supervtsing ,Dudge due to the case eqaanagement benefatts ptovided by
                  this Stipulalion. A copy of the G®neral Crder cen be found at 0M.feca                  csnder "ClvlP.
                  ciick on °Generel lntformalJon', then c@Ick on `VOOunfary EltTclenl !.lPlgatDon SUpLlaflon5'.
      3.          The parties wi11 prepare a joint n:porC titled 'Joint Status i3eport Purguana to Initial Conference
                  and Eariy t3rganizational iUieeQing StipulaUon, and if desin3d, a proposed arder suntirnarlaing
                  results of thelr sneet and confer and advisirag the Court of any vvay tt may assist the parttes'
                  eftfcient conduct or'resolution of the case. Tt~e par;les staafl atiacpt the .f~nt Status Repore to
                  Ihe Caana~ent
                        se ND   Confererace statement, and t'ile trbe documents when ihe CRRC
                  stateateent is due.

      4.          References to `days mean caiendar days, urgess otherwise noted, if tiee date for perforrning
                  any act pursuant to this stipulal9on fails on a Saturday, Sunday or Court holiday, then the tirme
                  for parfonming tfat act shatl be etttended to the next Court day
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           sssues through d'o9agent ®ifforts [io afeflne and discuss sasch issues aaad limit p'apeuwork.

           Ttee parties agree that:
           't. At least'       days before the Pinal status con3erence, each party wB(1 prodide atl other
               parties with a tist contairaing a one parl+agraph exptanation of each proposed rsnotion In
               Ilenine. Each one paragraph ettplanation must iden6fy the substance of a single proposed
               rriotlon In timine and the grounds for ttze proposed rnotlon.
           2. The pariies Ihereafter wiil meet and confer, either in person or via teleconferenCe or
              videoconference, coricerning all proposed niolions in [Isnine. In that aneet and confer, tha
              parties vultl deterHr+ine:
                a. Whether the parties can stiputate to any og'the prr,posed rnotions. I€ the pwiies so
                   stipulate, they raeay file a stiputation and proposed order wit11 the Court.
                b. Wh®ther any of the proposed motions can be briefed and submitted by saeeans of a
                   short Joint statearaent of Issues. For each rnotion which carr; be addressed by a short
                   Joint statement of issues, a short Joint stateonent of Issues trtust @ae f'+led tn►ith tOge Couat
                   40 days prior to the inal status conference. Eac7t side's portion of the shor8 )oint
                   statement of issues rnay not exceed three pages. The partees vdiib meet and confer to,
                   agree on a date and manner for exchangMg the parties' respective poetSons og tl•►e
                   short joint stateoatent of issues and the praeess for fiiing the short joint staternent of
                   issues.
           3. Ali proposed snotions In lisnine that are not either the subject of a stipulation or braefed via
              e short jolnt staternerit of Issues wiQl be briefed and Med In accordance vvith the Califomia
               Ruies of Court and the t.®s Attgeles S>saperior Court Ru4es.




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Case 2:20-cv-09465-JAK-JPR Document 1-1 Filed 10/15/20 Page 56 of 60 Page ID #:61




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     s          ;s      Superior Court of California, County of Los Angeles


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What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.


Advantaees of ADR
         •   Saves Time: ADR is faster than going to trial.
         •   Saves Money: Parties can save on court costs, attorney's fees, and witness fees.
         •   Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
         •   Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.


Disadvantaees of ADR
         •   Costs: If the parties do not. resolve their dispute, they may have to pay for ADR and litigation and trial.
         •   No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.


Main Types of ADR:

             Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
             settlement agreement instead 'of a trial. If the parties have lawyers, they will negotiate for their clients.

         2. Mediation: In mediation, a neutral mediator listens to each person's concerns, heips them evaluate the
            strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
            acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.


                     Mediation may be appropriate when the parties
                        • want to work out a solution but need help from a neutral person.
                        •   have communication problems or strong emotions that interfere with resolution.
                     Mediation may not be appropriate wh'en the parties
                        • want.a public trial and want a judge or juryto decide the outcome.
                             •    lack equal bargaining power or have a history of physical/emotional abuse.




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           3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and arguments to the
              person who decides the outcome. In "binding" arbitration, the arbitrator's decision is final; there is no right to
              trial. In "nonbinding" arbitration, any party can request a trial after the arbitrator's decision. For more
              information about arbitration, visit http://www.courts.ca.eov/prosrams-adr.htm

           4. Mandatory Settlement Conferences (MSC): MSCs are ordered by the Court and are often heid close to the trial
              date or on the day of trial. The parties and their attorneys meet with a judge or settlement officer who does not
               make a decision but assists the parties in evaluating the strengths and weaknesses of the case and in negotiating
               a settlement. For information about the Court's MSC programs for civil cases, visit
               http://www.lacourt.org/division/civii/ClOO47.aspx
                                                     -


Los Angeles Superior Court ADR website: http://www.lacourt.org/division/civil/CI0109.aspx
For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm



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                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OIF LOS ANGELES
  COURTHOUSE ADDRESS:
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                          UNLIMITED CIVIL CASE

                                                                                    CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below.   20STCV32784

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE             DEPT     ROOM                      ASSIGNED JUDGE                        DEPT          ROOM
         Dennis J. Landin                 51




    Given to the Plaintiff/Cross-Complainant/Attomey ofRecord   Sherri R. Carter, Executive Officer / Clerk of Court
    on 08/27/2020                                                        By R. Clifton                                            , Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LASC Approved 05/06
        Case 2:20-cv-09465-JAK-JPR Document 1-1 Filed 10/15/20 Page 60 of 60 Page ID #:65

                                  INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.
PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.
CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.
TIME STANDARDS .
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:
COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS                          ~
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.
FINAL STATUS CONFERENCE
The Court will'require the parties to attend a fmal status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter• Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionallv Comnlex Cases                                               '
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE,
LASC Approved 05/06
